               Case 19-24863-JKS                   Doc 1        Filed 07/31/19 Entered 07/31/19 15:38:06                                Desc Main
                                                               Document      Page 1 of 206

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Ki                                                               Hye
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Hyung                                                            Sook
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Kim                                                              Ha
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Kevin Kim                                                             Jane Kim
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7778                                                      xxx-xx-9538
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
              Case 19-24863-JKS                 Doc 1        Filed 07/31/19 Entered 07/31/19 15:38:06                              Desc Main
                                                            Document      Page 2 of 206
Debtor 1   Ki Hyung Kim
Debtor 2   Hye Sook Ha                                                                                Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 41 Brenner Place
                                 Alpine, NJ 07620
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Bergen
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 19-24863-JKS                  Doc 1        Filed 07/31/19 Entered 07/31/19 15:38:06                                Desc Main
                                                             Document      Page 3 of 206
Debtor 1    Ki Hyung Kim
Debtor 2    Hye Sook Ha                                                                                   Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 19-24863-JKS                  Doc 1       Filed 07/31/19 Entered 07/31/19 15:38:06                               Desc Main
                                                            Document      Page 4 of 206
Debtor 1    Ki Hyung Kim
Debtor 2    Hye Sook Ha                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
               Case 19-24863-JKS                   Doc 1       Filed 07/31/19 Entered 07/31/19 15:38:06                             Desc Main
                                                              Document      Page 5 of 206
Debtor 1    Ki Hyung Kim
Debtor 2    Hye Sook Ha                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 19-24863-JKS                 Doc 1        Filed 07/31/19 Entered 07/31/19 15:38:06                                    Desc Main
                                                            Document      Page 6 of 206
Debtor 1    Ki Hyung Kim
Debtor 2    Hye Sook Ha                                                                                   Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Ki Hyung Kim                                                  /s/ Hye Sook Ha
                                 Ki Hyung Kim                                                      Hye Sook Ha
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     July 31, 2019                                     Executed on     July 31, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
              Case 19-24863-JKS                   Doc 1          Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                Document      Page 7 of 206
Debtor 1   Ki Hyung Kim
Debtor 2   Hye Sook Ha                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Richard D. Trenk                                               Date         July 31, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Richard D. Trenk
                                Printed name

                                McManimon, Scotland & Baumann, LLC
                                Firm name

                                75 Livingston Avenue
                                Suite 201
                                Roseland, NJ 07068
                                Number, Street, City, State & ZIP Code

                                Contact phone     973-622-1800                               Email address         rtrenk@msbnj.com
                                016951982 NJ
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
               Case 19-24863-JKS                      Doc 1            Filed 07/31/19 Entered 07/31/19 15:38:06                                Desc Main
                                                                      Document      Page 8 of 206

 Fill in this information to identify your case:

 Debtor 1                     Ki Hyung Kim
                              First Name                    Middle Name                      Last Name

 Debtor 2                     Hye Sook Ha
 (Spouse if, filing)          First Name                    Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Personal guarantee of       $ $2,333,383.62
                                                                                                                   business debt
              New Bank
              189 Homans Avenue                                      As of the date you file, the claim is: Check all that apply
              Closter, NJ 07624                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
              Edward J. LoBello, Esq.

              elobello@msek.com                                               No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $

              516-592-5706                                                          Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Personal guarantee of       $ $1,530,931.48
                                                                                                                   business debt
              New Bank
              189 Homans Avenue                                      As of the date you file, the claim is: Check all that apply
              Closter, NJ 07624                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply



B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 1

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             Case 19-24863-JKS                        Doc 1            Filed 07/31/19 Entered 07/31/19 15:38:06                                Desc Main
                                                                      Document      Page 9 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

                                                                     Does the creditor have a lien on your property?
            Edward J. LoBello, Esq.

            elobello@msek.com                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            516-592-5706                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 3                                                                   What is the nature of the claim?              Personal guaranty of        $ $1,400,000.00
                                                                                                                   business debt
            Bank of Hope
            3200 Wilshire Blvd, Suite 1400                           As of the date you file, the claim is: Check all that apply
            Los Angeles, CA 90010                                            Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Kevin S. Kim

            Fax: 213-427-1491                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            213-639-1700                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Personal guarantee of       $ $1,308,070.47
                                                                                                                   business debt
            New Bank
            189 Homans Avenue                                        As of the date you file, the claim is: Check all that apply
            Closter, NJ 07624                                                Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Edward J. LoBello, Esq.

            elobello@msek.com                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            516-592-5706                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Personal guaranty of        $ $591,698.35
                                                                                                                   business debt
            Modern Joa Trading, Inc.
            58-58 56th Drive                                         As of the date you file, the claim is: Check all that apply
            Maspeth, NY 11378                                                Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 10 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

                                                                     Does the creditor have a lien on your property?
            Sung Ja Bae
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            718-639-2169                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Trade Debt                  $ $500,000.00
            US Department of Labor
            Attn: Daniel Hennefeld, Esq.                             As of the date you file, the claim is: Check all that apply
            201 Varick Street, Room 983                                      Contingent
            New York, NY 10014                                                Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Daniel Hennefeld, Esq.

            hennefeld.daniel@dol.gov                                          No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            646-264-3688                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Personal guaranty of        $ $351,547.13
                                                                                                                   business debt
            General Trading
            455 16th Street                                          As of the date you file, the claim is: Check all that apply
            Carlstadt, NJ 07072                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Jonathan Abad

            jabad@general-trading.com                                         No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            201-935-7717                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Personal guaranty of        $ $238,083.76
                                                                                                                   business debt
            Nebraskland
            355 Food Center Dr.                                      As of the date you file, the claim is: Check all that apply
            Buidling G                                                       Contingent
            Bronx, NY 10475                                                   Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 11 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

            Richard Romanoff

            customerservice@nebraskaland.
            com                                                               No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            718-842-0700                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Litigation Plaintiff.       $ $231,537.01
                                                                                                                   Debtors are
                                                                                                                   guarantors under
                                                                                                                   lease for property
                                                                                                                   located at 375
                                                                                                                   Tompkins Avenue
                                                                                                                   (Suite 1), Staten
                                                                                                                   Island, NY.
            375 Tompkins Owner, LLC
            c/o Howard M. File, Esq.                                 As of the date you file, the claim is: Check all that apply
            260 Christopher Lane, Suite 102                                  Contingent
            Staten Island, NY 10314                                           Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Howard M. File

            HFILE@HMFESQ.COM                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            718-494-8800                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Personal guaranty of        $ $132,202.70
                                                                                                                   buisness debt
            Nebraskland
            355 Food Center Dr.                                      As of the date you file, the claim is: Check all that apply
            Buidling G                                                       Contingent
            Bronx, NY 10475                                                   Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Richard Romanoff

            customerservice@nebraskaland.
            com                                                               No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            718-842-0700                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Personal guaranty of        $ $97,353.00
                                                                                                                   business debt


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 12 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

            Lily Produce
            435-A NYC Terminal Market                                As of the date you file, the claim is: Check all that apply
            Bronx, NY 10474                                                  Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Lily Chang

            lily@lilyproduce.com                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            929-777-5459                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Personal guaranty of        $ $94,268.50
                                                                                                                   business debt
            Coutros Brothers
            344 Elm Street                                           As of the date you file, the claim is: Check all that apply
            PO Box 550                                                       Contingent
            Perth Amboy, NJ 08861                                             Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Sperro Coutros

            Fax: 732-826-4170                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            732-826-1940                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Personal guaranty of        $ $83,448.00
                                                                                                                   business debt
            Advanced Energy Capital LLC
            1 Metrotech Center N, 3rd Floor                          As of the date you file, the claim is: Check all that apply
            Brooklyn, NY 11201                                               Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Richard Rudy
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            347-799-1685                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Credit Card                 $ $80,154.25
            Bank of America

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 13 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

            PO Box 15019                                             As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19886-5019                                        Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Personal guaranty of        $ $73,257.00
                                                                                                                   business debt
            Greenville Produce LLC
            150 Wesley Street                                        As of the date you file, the claim is: Check all that apply
            South Hackensack, NJ 07606                                       Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Yoon Joon Kim
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            917-528-8793                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Personal guaranty of        $ $66,295.05
                                                                                                                   business debt
            Dr. Produce
            262 Buffalo Avenue                                       As of the date you file, the claim is: Check all that apply
            Paterson, NJ 07503                                               Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Dario Fortuna
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            973-396-8196                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              Loan                        $ $61,249.10
            Gun Soo Youn
            232 Anderson Avenue                                      As of the date you file, the claim is: Check all that apply
            Closter, NJ 07624                                                Contingent
                                                                             Unliquidated
                                                                             Disputed

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 14 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)


                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Sun W. Young, Esq.

            Fax: 212-563-2567                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            212-647-0600                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Personal guaranty of        $ $57,105.97
                                                                                                                   business debt
            Katzman Produce
            213B New York City Terminal                              As of the date you file, the claim is: Check all that apply
            Market                                                           Contingent
            Bronx, NY 10474                                                   Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Stephen Katzman

            info@katzmanproduce.com                                           No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            718-991-4700                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              Personal guaranty of        $ $56,601.40
                                                                                                                   business debt
            Loan Builder
            c/o Swift Financial, LLC                                 As of the date you file, the claim is: Check all that apply
            3505 Sliverside Road                                             Contingent
            Wilmington, DE 19810                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?
            Ed Harycki
                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800-347-5626                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Credit Card                 $ $46,743.17
            Bank of America
            PO Box 15019                                             As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19886-5019                                        Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 7

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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                                     Document     Page 15 of 206


 Debtor 1          Ki Hyung Kim
 Debtor 2          Hye Sook Ha                                                                      Case number (if known)

                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $
                                                                                   Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Ki Hyung Kim                                                                 X   /s/ Hye Sook Ha
       Ki Hyung Kim                                                                         Hye Sook Ha
       Signature of Debtor 1                                                                Signature of Debtor 2


       Date      July 31, 2019                                                              Date     July 31, 2019




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     Page 8

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               Case 19-24863-JKS                           Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                                        Document     Page 16 of 206
 Fill in this information to identify your case:

 Debtor 1                   Ki Hyung Kim
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Hye Sook Ha
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             113,327.82

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             113,327.82

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          5,282,849.72

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         10,705,985.72


                                                                                                                                     Your total liabilities $           15,988,835.44


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              14,787.66

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              22,741.10

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                      Desc Main
                                                                     Document     Page 17 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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               Case 19-24863-JKS                                Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                                      Desc Main
                                                                             Document     Page 18 of 206
 Fill in this information to identify your case and this filing:

 Debtor 1                    Ki Hyung Kim
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Hye Sook Ha
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        41 Brenner Place                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Alpine                            NJ        07620-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                                   Unknown                    Unknown
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Bergen                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                               $0.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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              Case 19-24863-JKS                       Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                          Desc Main
                                                                     Document     Page 19 of 206
 Debtor 1        Ki Hyung Kim
 Debtor 2        Hye Sook Ha                                                                                        Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Pilot                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2019                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                        75              Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Leased Vehicle (not property of
         the estate)                                                 Check if this is community property                                        $0.00                      $0.00
                                                                     (see instructions)



  3.2    Make:       Jeep                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Cherokee                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2019                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                        75              Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Leased Vehicle (not property of
         the estate)                                                 Check if this is community property                                        $0.00                      $0.00
                                                                     (see instructions)



  3.3    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Rav4                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2018                                            Debtor 2 only
                                                                                                                              Current value of the        Current value of the
         Approximate mileage:                   14000                Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Lease Vehicle (not property of
         the estate)                                                 Check if this is community property                                        $0.00                      $0.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                          $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                      Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods and Furnishings                                                                                                 $25,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                           page 2
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                    Desc Main
                                                                     Document     Page 20 of 206
 Debtor 1       Ki Hyung Kim
 Debtor 2       Hye Sook Ha                                                                         Case number (if known)

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics                                                                                                $15,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes                                                                                                    $15,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry                                                                                                    $10,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                     $65,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.




Official Form 106A/B                                                    Schedule A/B: Property                                                         page 3
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             Case 19-24863-JKS                                     Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                                  Document     Page 21 of 206
 Debtor 1         Ki Hyung Kim
 Debtor 2         Hye Sook Ha                                                                                                 Case number (if known)

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                              $300.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Personal Checking                       Chase                                                          $2,315.72



                                              17.2.       Personal Checking                       New Millennium Bank                                              $120.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Kumkang Fruit & Vegetable Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  Bongrae Fruit & Vegetable Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  Bongrae Wine & Spirits Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %               Unknown


                                                  Deoksung Fruit & Vegetable Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  BHSM Group LLC
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  Youngchuk Fruit & Vegetable Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  Dana 183rd St. Corp.
                                                  (EIN #XX-XXXXXXX)                                                                 100          %                     $0.00


                                                  495 Great Neck Corp.
                                                  (EIN #XX-XXXXXXX)                                                                  20          %               Unknown


Official Form 106A/B                                                                       Schedule A/B: Property                                                      page 4
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             Case 19-24863-JKS                         Doc 1          Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                     Document     Page 22 of 206
 Debtor 1         Ki Hyung Kim
 Debtor 2         Hye Sook Ha                                                                                 Case number (if known)


                                            Hanra Fish & Produce Corp.
                                            (EIN #XX-XXXXXXX)                                                        100        %                         $0.00


                                            136 Northern Boulevard, LLC
                                            (EIN #XX-XXXXXXX)                                                        100        %                         $0.00


                                            Taebaek Fruit & Vegetable Corp.
                                            (EIN #XX-XXXXXXX)                                                        100        %                   Unknown


                                            Haein Closter Corp.
                                            (EIN #XX-XXXXXXX)                                                        100        %                   Unknown


                                            Metro Supermarket Brokerage Inc.
                                            (EIN #XX-XXXXXXX)                                                        100        %                         $0.00


                                            J.K. Commerce Inc.
                                            (EIN #XX-XXXXXXX)                                                        100        %                         $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          IRA                               JP Morgan Chase account ending in 5876                                  $9,168.74


                                          IRA                               JP Morgan Chase account ending in 5875                                  $6,833.96


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...


Official Form 106A/B                                                    Schedule A/B: Property                                                            page 5
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             Case 19-24863-JKS                        Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                     Desc Main
                                                                     Document     Page 23 of 206
 Debtor 1       Ki Hyung Kim
 Debtor 2       Hye Sook Ha                                                                               Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
        Yes. Give specific information about them...

                                              Trademark #8766-812 Bell Farms                                                                      Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                   Beneficiary:                        Surrender or refund
                                                                                                                                     value:

                                         New York Life Insurance Company
                                         Term Policy                                             Ki Hyung Kim                                           $0.00


                                         New York Life Insurance Company
                                         Term Policy                                             Hyesook Ha                                             $0.00


                                         The Harford Life Insurance Company
                                         Whole Life Insurance Policy                             Hyesook Ha                                     $29,589.40


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No

Official Form 106A/B                                                    Schedule A/B: Property                                                          page 6
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              Case 19-24863-JKS                               Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                                                 Desc Main
                                                                           Document     Page 24 of 206
 Debtor 1         Ki Hyung Kim
 Debtor 2         Hye Sook Ha                                                                                                           Case number (if known)

        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $48,327.82


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                      $65,000.00
 58. Part 4: Total financial assets, line 36                                                                  $48,327.82
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $113,327.82               Copy personal property total          $113,327.82

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $113,327.82




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
               Case 19-24863-JKS                      Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                     Document     Page 25 of 206
 Fill in this information to identify your case:

 Debtor 1                 Ki Hyung Kim
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 1 Exemptions
   41 Brenner Place Alpine, NJ 07620                                   Unknown                                        $0.00    11 U.S.C. § 522(d)(1)
   Bergen County
   Line from Schedule A/B: 1.1                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods and Furnishings                                  $25,000.00                              $13,400.00      11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Jewelry                                                          $10,000.00                                $1,700.00     11 U.S.C. § 522(d)(4)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Cash                                                                $300.00                                  $300.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Personal Checking: Chase                                          $2,315.72                                $2,315.72     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                     Document     Page 26 of 206
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Personal Checking: New Millennium                                   $120.00                                   $120.00     11 U.S.C. § 522(d)(5)
     Bank
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: JP Morgan Chase account                                       $9,168.74                                $9,168.74     11 U.S.C. § 522(d)(12)
     ending in 5876
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     The Harford Life Insurance Company                                $29,589.40                              $13,400.00      11 U.S.C. § 522(d)(8)
     Whole Life Insurance Policy
     Beneficiary: Hyesook Ha                                                               100% of fair market value, up to
     Line from Schedule A/B: 31.3                                                          any applicable statutory limit

     The Harford Life Insurance Company                                $29,589.40                              $11,164.28      11 U.S.C. § 522(d)(5)
     Whole Life Insurance Policy
     Beneficiary: Hyesook Ha                                                               100% of fair market value, up to
     Line from Schedule A/B: 31.3                                                          any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 4
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               Case 19-24863-JKS                      Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                     Document     Page 27 of 206

 Fill in this information to identify your case:

 Debtor 1
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Hye Sook Ha
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 2 Exemptions
   41 Brenner Place Alpine, NJ 07620                                   Unknown                                        $0.00    11 U.S.C. § 522(d)(1)
   Bergen County
   Line from Schedule A/B: 1.1                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods and Furnishings                                  $25,000.00                              $11,600.00      11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Electronics                                                      $15,000.00                                $1,800.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Electronics                                                      $15,000.00                                $7,300.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Jewelry                                                          $10,000.00                                $1,700.00     11 U.S.C. § 522(d)(4)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 3 of 4
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                     Document     Page 28 of 206
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
     Jewelry                                                           $10,000.00                                $6,600.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: JP Morgan Chase account                                       $6,833.96                                $6,833.96     11 U.S.C. § 522(d)(12)
     ending in 5875
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 4 of 4
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               Case 19-24863-JKS                      Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                    Desc Main
                                                                     Document     Page 29 of 206
 Fill in this information to identify your case:

 Debtor 1                   Ki Hyung Kim
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Hye Sook Ha
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chrysler Capital                         Describe the property that secures the claim:                         $0.00                   $0.00                   $0.00
         Creditor's Name                          2019 Jeep Cherokee 75 miles
                                                  Leased Vehicle (not property of the
                                                  estate)
                                                  As of the date you file, the claim is: Check all that
         PO Box 961275                            apply.
         Fort Worth, TX 76161                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Auto Lease
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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              Case 19-24863-JKS                          Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                      Document     Page 30 of 206
 Debtor 1 Ki Hyung Kim                                                                                        Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Hye Sook Ha
               First Name                  Middle Name                      Last Name


 2.2     Honda Financial Services                   Describe the property that secures the claim:                           $0.00         $0.00             $0.00
         Creditor's Name                            2019 Honda Pilot 75 miles
                                                    Leased Vehicle (not property of the
                                                    estate)
                                                    As of the date you file, the claim is: Check all that
         2080 Cabot Blvd W.                         apply.
         Langhorne, PA 19047                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Auto Lease
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     New Bank                                   Describe the property that secures the claim:                 $1,616,339.17        Unknown        Unknown
         Creditor's Name                            41 Brenner Place Alpine, NJ 07620
                                                    Bergen County
                                                    As of the date you file, the claim is: Check all that
         189 Homans Avenue                          apply.
         Closter, NJ 07624                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Third Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         7086

 2.4     New Bank                                   Describe the property that secures the claim:                   $100,000.00        Unknown        Unknown
         Creditor's Name                            41 Brenner Place Alpine, NJ 07620
                                                    Bergen County
                                                    As of the date you file, the claim is: Check all that
         189 Homans Avenue                          apply.
         Closter, NJ 07624                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6022


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 4
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              Case 19-24863-JKS                          Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                            Desc Main
                                                                      Document     Page 31 of 206
 Debtor 1 Ki Hyung Kim                                                                                        Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Hye Sook Ha
               First Name                  Middle Name                      Last Name


 2.5     New Bank                                   Describe the property that secures the claim:                 $1,510,200.17        Unknown        Unknown
         Creditor's Name                            41 Brenner Place Alpine, NJ 07620
                                                    Bergen County
                                                    As of the date you file, the claim is: Check all that
         189 Homans Avenue                          apply.
         Closter, NJ 07624                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Fourth Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         8027

 2.6     New Millennium Bank                        Describe the property that secures the claim:                 $2,056,310.38        Unknown        Unknown
         Creditor's Name                            41 Brenner Place Alpine, NJ 07620
                                                    Bergen County
         222 Bridge Plaza S.
                                                    As of the date you file, the claim is: Check all that
         Suite 400                                  apply.
         Fort Lee, NJ 07024                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5066

 2.7     Toyota Motor Credit                        Describe the property that secures the claim:                           $0.00         $0.00             $0.00
         Creditor's Name                            2018 Toyota Rav4 14000 miles
                                                    Lease Vehicle (not property of the
                                                    estate)
         PO Box 4102                                As of the date you file, the claim is: Check all that
         Carol Stream, IL                           apply.
         60197-4102                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Auto lease
       community debt

 Date debt was incurred                                      Last 4 digits of account number         F173



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 4
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                   Desc Main
                                                                     Document     Page 32 of 206
 Debtor 1 Ki Hyung Kim                                                                           Case number (if known)
              First Name                Middle Name                     Last Name
 Debtor 2 Hye Sook Ha
              First Name                Middle Name                     Last Name


   Add the dollar value of your entries in Column A on this page. Write that number here:                      $5,282,849.72
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                     $5,282,849.72

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.3
        Edward J. LoBello
        Meyer, Suozzi, English & Klein, PC                                                 Last 4 digits of account number
        900 Stewart Avenue, Suite 300
        PO Box 9194
        Garden City, NY 11530-9194

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.4
        Edward J. LoBello
        Meyer, Suozzi, English & Klein, PC                                                 Last 4 digits of account number
        900 Stewart Avenue, Suite 300
        PO Box 9194
        Garden City, NY 11530-9194

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.5
        Edward J. LoBello
        Meyer, Suozzi, English & Klein, PC                                                 Last 4 digits of account number
        900 Stewart Avenue, Suite 300
        PO Box 9194
        Garden City, NY 11530-9194




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page 4 of 4
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               Case 19-24863-JKS                        Doc 1         Filed 07/31/19 Entered 07/31/19 15:38:06                                           Desc Main
                                                                     Document     Page 33 of 206
 Fill in this information to identify your case:

 Debtor 1                     Ki Hyung Kim
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Hye Sook Ha
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Division of Taxation                                   Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              124 Halsey Street                                      When was the debt incurred?
              Second Floor
              Newark, NJ 07102
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         For Noticing Purposes Only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                             Desc Main
                                                                     Document     Page 34 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                      Case number (if known)

 2.2      Internal Revenue Service                                   Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Special Procedures Branch                                  When was the debt incurred?
          Attn: Bankruptcy Section
          Springfield, NJ 07081-0744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.3      Internal Revenue Service                                   Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Attn: District Director                                    When was the debt incurred?
          955 South Springfield Avenue
          Springfield, NJ 07081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.4      Internal Revenue Service                                   Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Office of the Chief Counsel                                When was the debt incurred?
          One Newark Center, Suite 1500
          Newark, NJ 07102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                             Desc Main
                                                                     Document     Page 35 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                      Case number (if known)

 2.5      Internal Revenue Service                                   Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          PO Box 7346                                                When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.6      New Jersey Division of Taxation                            Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Bankruptcy Section                                         When was the debt incurred?
          PO Box 245
          Trenton, NJ 08695-0245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.7      Office of the Attorney General                             Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Division of Law                                            When was the debt incurred?
          PO Box 080
          Trenton, NJ 08625-0080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                             Desc Main
                                                                     Document     Page 36 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                      Case number (if known)

 2.8      State of New Jersey                                        Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Division of Taxation                                       When was the debt incurred?
          Sales & Use Tax
          PO Box 999
          Trenton, NJ 08625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.9      State of New Jersey                                        Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Divison of Taxation - Gross                                When was the debt incurred?
          Income Tax
          50 Barrack Street
          PO Box 269
          Trenton, NJ 08625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only

 2.1
 0        State of New Jersey                                        Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          Division of Employer Accounts                              When was the debt incurred?
          PO Box 379
          Trenton, NJ 08625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                        Contingent
           Debtor 1 only
                                                                        Unliquidated
           Debtor 2 only
                                                                        Disputed
           Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
           At least one of the debtors and another
                                                                        Domestic support obligations
           Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
       Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes
                                                                                         For Noticing Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 99
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             Case 19-24863-JKS                         Doc 1          Filed 07/31/19 Entered 07/31/19 15:38:06                                            Desc Main
                                                                     Document     Page 37 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                      Case number (if known)

 2.1
 1          United States Attorney                                   Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            970 Broad Street, Fifth Floor                            When was the debt incurred?
            Newark, NJ 07102
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
            At least one of the debtors and another
                                                                        Domestic support obligations
            Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes
                                                                                           For Noticing Purposes Only


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        375 Tompkins Owner, LLC                                    Last 4 digits of account number                                                                 $231,537.01
            Nonpriority Creditor's Name
            c/o Howard M. File, Esq.                                   When was the debt incurred?
            260 Christopher Lane, Suite 102
            Staten Island, NY 10314
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent

                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                            Litigation Plaintiff. Debtors are guarantors
                                                                                            under lease for property located at 375
                                                                                            Tompkins Avenue (Suite 1), Staten Island,
                 Yes                                                       Other. Specify   NY.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 5 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 38 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.2      4 Season Produce                                            Last 4 digits of account number                                                           $756.00
          Nonpriority Creditor's Name
          PO Box 202                                                  When was the debt incurred?
          Little Ferry, NJ 07643
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3      458½ South Broadway Meat                                    Last 4 digits of account number                                                           $952.46
          Nonpriority Creditor's Name
          458½ South Broadway                                         When was the debt incurred?
          Yonkers, NY 10705
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4      88 Trading Corp.                                            Last 4 digits of account number                                                         $4,421.43
          Nonpriority Creditor's Name
          58-29 48th Street                                           When was the debt incurred?
          Maspeth, NY 11378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 39 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.5      A&J Farms                                                   Last 4 digits of account number                                                       $11,888.68
          Nonpriority Creditor's Name
          42 Hemlock Drive                                            When was the debt incurred?
          Paramus, NJ 07652
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6      A. Sarselli Inc.                                            Last 4 digits of account number                                                           $225.00
          Nonpriority Creditor's Name
          211 Nelson Ave.                                             When was the debt incurred?
          Staten Island, NY 10308
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7      AAA Housewares Inc.                                         Last 4 digits of account number                                                         $3,096.50
          Nonpriority Creditor's Name
          1400 Langdon Blvd                                           When was the debt incurred?
          Rockville Centre, NY 11570
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 40 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.8      Abarrotes Mixteca                                           Last 4 digits of account number                                                         $5,514.97
          Nonpriority Creditor's Name
          216A Midland Avenue                                         When was the debt incurred?
          Saddle Brook, NJ 07663
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9      Abraham Natural Foods                                       Last 4 digits of account number                                                         $2,213.41
          Nonpriority Creditor's Name
          3020 Review Ave.                                            When was the debt incurred?
          Long Island City, NY 11101
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 0        Adelphia Container                                          Last 4 digits of account number                                                         $2,568.75
          Nonpriority Creditor's Name
          125 Division Place                                          When was the debt incurred?
          Brooklyn, NY 11222
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 41 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 1        Advanced Energy Capital LLC                                 Last 4 digits of account number                                                       $83,448.00
          Nonpriority Creditor's Name
          1 Metrotech Center N, 3rd Floor                             When was the debt incurred?
          Brooklyn, NY 11201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 2        Aiello Bros. Cheese Co., Inc.                               Last 4 digits of account number                                                           $299.40
          Nonpriority Creditor's Name
          8782 16th Ave.                                              When was the debt incurred?
          Brooklyn, NY 11214
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 3        Aladdin Bakers Inc.                                         Last 4 digits of account number                                                         $1,757.80
          Nonpriority Creditor's Name
          240 25th St.                                                When was the debt incurred?
          Brooklyn, NY 11232
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 9 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 42 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 4        Albert Olive Oil USA                                        Last 4 digits of account number                                                         $2,345.00
          Nonpriority Creditor's Name
          One Gateway Center, Ste. 2600                               When was the debt incurred?
          Newark, NJ 07102
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 5        Aliments                                                    Last 4 digits of account number                                                           $986.22
          Nonpriority Creditor's Name
          60 Cold Spring Hills Road                                   When was the debt incurred?
          Huntington, NY 11743
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 6        Allcounty Recycling, Inc.                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          c/o Felsenfeld & Clopton PC                                 When was the debt incurred?
          1 Nami Lane Suite 5
          Trenton, NJ 08619
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   For Noticing Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 10 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 43 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 7        American Banana                                             Last 4 digits of account number                                                         $2,541.50
          Nonpriority Creditor's Name
          58 Henry Street                                             When was the debt incurred?
          Hasbrouck Heights, NJ 07604
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 8        AMUR Equipment Finance                                      Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          PO Box 2555                                                 When was the debt incurred?
          308 N. Locust Street, Suite 100
          Grand Island, NE 68801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 9        Anhesuer-Busch Distributor                                  Last 4 digits of account number                                                         $4,753.02
          Nonpriority Creditor's Name
          550 Food Center Drive                                       When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 11 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 44 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.2
 0        AO Plainsboro, LLC                                          Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Onyx Equites                                            When was the debt incurred?
          900 Route 9 North, Suite 400
          Woodbridge, NJ 07095
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Debtors are guarantors under lease for
                                                                                          property located at 10 Schalks Crossing
              Yes                                                        Other. Specify   Road, Plainsboro Township, NJ.


 4.2
 1        ARS Premier Food                                            Last 4 digits of account number                                                         $3,073.59
          Nonpriority Creditor's Name
          PO Box 1554                                                 When was the debt incurred?
          Burlington, NJ 08016
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.2
 2        Associated Produce                                          Last 4 digits of account number                                                         $2,528.00
          Nonpriority Creditor's Name
          30 Casanova Street                                          When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 12 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 45 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.2
 3        AZ Cleaning Pro                                             Last 4 digits of account number                                                       $15,680.00
          Nonpriority Creditor's Name
          PO Box 1419                                                 When was the debt incurred?
          Morrisville, PA 19067
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.2
 4        AZ Metro Distributors LLC                                   Last 4 digits of account number                                                         $6,196.76
          Nonpriority Creditor's Name
          60 Crossways Park Drive W                                   When was the debt incurred?
          Woodbury, NY 11797
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.2
 5        Bakery Espiga De Oro, Inc.                                  Last 4 digits of account number                                                         $8,178.30
          Nonpriority Creditor's Name
          52-54 Oraton Street                                         When was the debt incurred?
          Newark, NJ 07104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 13 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 46 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.2
 6        Bank of America                                             Last 4 digits of account number       0742                                            $80,154.25
          Nonpriority Creditor's Name
          PO Box 15019                                                When was the debt incurred?
          Wilmington, DE 19886-5019
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.2
 7        Bank of America                                             Last 4 digits of account number       3436                                            $25,943.75
          Nonpriority Creditor's Name
          PO Box 15019                                                When was the debt incurred?
          Wilmington, DE 19886-5019
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.2
 8        Bank of America                                             Last 4 digits of account number       6109                                            $46,743.17
          Nonpriority Creditor's Name
          PO Box 15019                                                When was the debt incurred?
          Wilmington, DE 19886-5019
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 14 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 47 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.2
 9        Bank of Hope                                                Last 4 digits of account number                                                    $1,400,000.00
          Nonpriority Creditor's Name
          3200 Wilshire Blvd, Suite 1400                              When was the debt incurred?
          Los Angeles, CA 90010
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 0        BCS Royal Food                                              Last 4 digits of account number                                                         $7,553.04
          Nonpriority Creditor's Name
          47-15 33rd Street, Suite 300                                When was the debt incurred?
          Long Island City, NY 11101
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 1        Bedesee Caribbean Food Specialist                           Last 4 digits of account number                                                         $3,500.00
          Nonpriority Creditor's Name
          601 Wortman Avenue                                          When was the debt incurred?
          Brooklyn, NY 11208
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 15 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 48 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.3
 2        Bevcon Group                                                Last 4 digits of account number                                                           $329.34
          Nonpriority Creditor's Name
          47-15 33rd Street, Ste. 300                                 When was the debt incurred?
          Long Island City, NY 11103
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 3        Bimbo Bakeries USA, Inc.                                    Last 4 digits of account number                                                         $9,064.82
          Nonpriority Creditor's Name
          PO Box 827810                                               When was the debt incurred?
          Philadelphia, PA 19182-8170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 4        Bimbo Bakeries USA, Inc.                                    Last 4 digits of account number                                                         $6,921.88
          Nonpriority Creditor's Name
          PO Box 827810                                               When was the debt incurred?
          Philadelphia, PA 19182-8170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 16 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 49 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.3
 5        Bindi North America                                         Last 4 digits of account number       7196                                              $1,931.78
          Nonpriority Creditor's Name
          630 Belleville Turnpike                                     When was the debt incurred?
          Kearny, NJ 07032
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 6        Bindi North America                                         Last 4 digits of account number                                                         $1,797.36
          Nonpriority Creditor's Name
          630 Belleville Turnpike                                     When was the debt incurred?
          Kearny, NJ 07032
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 7        BMW Financial Services                                      Last 4 digits of account number       8020                                              Unknown
          Nonpriority Creditor's Name
          PO Box 3608                                                 When was the debt incurred?
          Dublin, OH 43016-0306
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Lease rejection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 17 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 50 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.3
 8        Brooklyn Bread                                              Last 4 digits of account number                                                         $1,305.15
          Nonpriority Creditor's Name
          1559 62nd St.                                               When was the debt incurred?
          Brooklyn, NY 11219
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.3
 9        Brooklyn Food & Beverage                                    Last 4 digits of account number                                                             $96.00
          Nonpriority Creditor's Name
          465 Johnson Ave.                                            When was the debt incurred?
          Brooklyn, NY 11237
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4
 0        Cafe Aroma                                                  Last 4 digits of account number                                                           $385.68
          Nonpriority Creditor's Name
          500 16th St.                                                When was the debt incurred?
          Hoboken, NJ 07030
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 18 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 51 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.4      Canada Dry Bottling Co. New York,
 1        Inc.                                                        Last 4 digits of account number       2929                                              $2,762.90
          Nonpriority Creditor's Name
          117-02 15th Avenue                                          When was the debt incurred?
          College Point, NY 11356
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4      Canada Dry Bottling Co. New York,
 2        Inc.                                                        Last 4 digits of account number       2928                                              $4,858.60
          Nonpriority Creditor's Name
          117-02 15th Avenue                                          When was the debt incurred?
          College Point, NY 11356
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4
 3        Capital One Bank USA                                        Last 4 digits of account number       9533                                            $14,936.00
          Nonpriority Creditor's Name
          15000 Capital One Drive                                     When was the debt incurred?
          Richmond, VA 23238
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 19 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 52 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.4
 4        Capital One Bank USA                                        Last 4 digits of account number       8116                                            $14,982.94
          Nonpriority Creditor's Name
          15000 Capital One Drive                                     When was the debt incurred?
          Richmond, VA 23238
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card


 4.4
 5        Caribbean Depot                                             Last 4 digits of account number                                                         $5,958.65
          Nonpriority Creditor's Name
          68 Brooklyn Terminal Market                                 When was the debt incurred?
          Brooklyn, NY 11236
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4
 6        Caruso, Smith & Picini                                      Last 4 digits of account number                                                         $3,406.24
          Nonpriority Creditor's Name
          60 Route 46 East                                            When was the debt incurred?
          Fairfield, NJ 07004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 20 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 53 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.4
 7        Casa Ofelia's Fine Baked Goods                              Last 4 digits of account number                                                         $2,279.75
          Nonpriority Creditor's Name
          1294 Grand Ave.                                             When was the debt incurred?
          Baldwin, NY 11510
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4
 8        CBA Industries Inc.                                         Last 4 digits of account number                                                       $15,554.72
          Nonpriority Creditor's Name
          669 River Drive                                             When was the debt incurred?
          PO Box 1717
          Elmwood Park, NJ 07407-1717
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.4
 9        CGS General Distribution                                    Last 4 digits of account number                                                           $856.00
          Nonpriority Creditor's Name
          245 Hinsdale St., 1st Fl.                                   When was the debt incurred?
          Brooklyn, NY 11207
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 21 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 54 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.5
 0        Chase Ink                                                   Last 4 digits of account number       9352                                            $42,409.15
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card


 4.5
 1        Chase Ink                                                   Last 4 digits of account number       5452                                            $14,840.18
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card


 4.5
 2        Chase Ink                                                   Last 4 digits of account number       7719                                              $6,802.32
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 22 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 55 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.5
 3        Chase Ink                                                   Last 4 digits of account number       6453                                            $44,795.72
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card


 4.5
 4        Chase Ink                                                   Last 4 digits of account number       6423                                            $19,420.77
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card


 4.5
 5        Chase Ink                                                   Last 4 digits of account number       6916                                              $9,450.05
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 23 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 56 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.5
 6        Choice Onion Farm, Inc.                                     Last 4 digits of account number                                                       $15,649.00
          Nonpriority Creditor's Name
          84-10 34th Ave, #4H                                         When was the debt incurred?
          Jackson Heights, NY 11372
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.5
 7        Cielito Lindo Bakery                                        Last 4 digits of account number                                                           $376.60
          Nonpriority Creditor's Name
          265 Asylum St., Unit #1                                     When was the debt incurred?
          Bridgeport, CT 06610
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.5
 8        Cintas Corporation                                          Last 4 digits of account number                                                         $7,731.70
          Nonpriority Creditor's Name
          PO Box 630803                                               When was the debt incurred?
          Cincinnati, OH 45263-0803
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 24 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 57 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.5
 9        Cirka Products LLC                                          Last 4 digits of account number                                                           $360.00
          Nonpriority Creditor's Name
          470 Schooleys Mt Road                                       When was the debt incurred?
          Suite 707
          Hackettstown, NJ 07840
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6
 0        Citicards CBNA                                              Last 4 digits of account number       4302                                            $18,707.00
          Nonpriority Creditor's Name
          PO Box 70166                                                When was the debt incurred?
          Philadelphia, PA 19176-0166
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.6
 1        Cold Technology                                             Last 4 digits of account number                                                         $1,147.55
          Nonpriority Creditor's Name
          1001 Lower Landing Road, Ste. 203                           When was the debt incurred?
          Blackwood, NJ 08012
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 25 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 58 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.6
 2        Continental Food & Beverage Inc.                            Last 4 digits of account number                                                         $1,960.17
          Nonpriority Creditor's Name
          495 River Road                                              When was the debt incurred?
          Clifton, NJ 07014
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6
 3        Cordialsa USA                                               Last 4 digits of account number                                                         $4,453.17
          Nonpriority Creditor's Name
          2 S. Middlesex Ave, Suite A                                 When was the debt incurred?
          Monroe Township, NJ 08831
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6
 4        Coutros Brothers                                            Last 4 digits of account number                                                       $94,268.50
          Nonpriority Creditor's Name
          344 Elm Street                                              When was the debt incurred?
          PO Box 550
          Perth Amboy, NJ 08861
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 26 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 59 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.6
 5        Cream-o-land                                                Last 4 digits of account number                                                       $13,257.73
          Nonpriority Creditor's Name
          529 Cedar Lane                                              When was the debt incurred?
          PO Box 143
          Florence, NJ 08518
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6
 6        Cream-o-land                                                Last 4 digits of account number       8731                                              $8,025.12
          Nonpriority Creditor's Name
          529 Cedar Lane                                              When was the debt incurred?
          PO Box 143
          Florence, NJ 08518
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6
 7        Cuttiee Product                                             Last 4 digits of account number                                                           $333.00
          Nonpriority Creditor's Name
          14 Industrial Ave.                                          When was the debt incurred?
          Fairview, NJ 07022
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 27 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 60 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.6
 8        Daifuku Trading Corp.                                       Last 4 digits of account number                                                         $1,737.80
          Nonpriority Creditor's Name
          360 S. Van Brunt St.                                        When was the debt incurred?
          Englewood, NJ 07631
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.6      De Lage Landen Financial Services
 9        Inc.                                                        Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          1111 Old Eagle School Road                                  When was the debt incurred?
          Wayne, PA 19087
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Trade Debt


 4.7
 0        Delice Global                                               Last 4 digits of account number                                                         $1,465.40
          Nonpriority Creditor's Name
          150 Roosevelt Pl.                                           When was the debt incurred?
          Palisades Park, NJ 07650
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 28 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 61 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.7
 1        Diamond Rock Food                                           Last 4 digits of account number                                                           $646.10
          Nonpriority Creditor's Name
          1199 Sunrise Hwy., Ste. 2-3                                 When was the debt incurred?
          Copiague, NY 11726
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 2        Diaz Foods                                                  Last 4 digits of account number       3229                                              $1,787.39
          Nonpriority Creditor's Name
          4 Rosol Lane                                                When was the debt incurred?
          Saddle Brook, NJ 07663
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 3        Diaz Foods                                                  Last 4 digits of account number       3231                                              $4,369.38
          Nonpriority Creditor's Name
          4 Rosol Lane                                                When was the debt incurred?
          Saddle Brook, NJ 07663
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 29 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 62 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.7
 4        Distribuidora Jocorena                                      Last 4 digits of account number                                                         $1,423.63
          Nonpriority Creditor's Name
          199A Brook Ave.                                             When was the debt incurred?
          Deer Park, NY 11729
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 5        Don Martin                                                  Last 4 digits of account number                                                         $2,802.00
          Nonpriority Creditor's Name
          86 First Street                                             When was the debt incurred?
          Passaic, NJ 07055
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 6        Dona Lisa                                                   Last 4 digits of account number                                                         $2,430.27
          Nonpriority Creditor's Name
          41 Mercedes Way, Unit 14                                    When was the debt incurred?
          Edgewood, NY 11717
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 30 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 63 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.7
 7        Dr. Produce                                                 Last 4 digits of account number                                                       $66,295.05
          Nonpriority Creditor's Name
          262 Buffalo Avenue                                          When was the debt incurred?
          Paterson, NJ 07503
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 8        Drink King Dist.                                            Last 4 digits of account number                                                           $575.45
          Nonpriority Creditor's Name
          120 Fieldcrest Ave.                                         When was the debt incurred?
          Edison, NJ 08837
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.7
 9        E&M Ice Cream                                               Last 4 digits of account number                                                       $12,332.70
          Nonpriority Creditor's Name
          701 Zerega Avenue                                           When was the debt incurred?
          Bronx, NY 10473
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 31 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 64 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.8
 0        E. Armata, Inc.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          114 N.Y.C. Terminal Market                                  When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   For Noticing Purposes Only


 4.8
 1        East Coast Egg                                              Last 4 digits of account number                                                         $4,693.10
          Nonpriority Creditor's Name
          2500 83rd Street                                            When was the debt incurred?
          North Bergen, NJ 07047
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.8
 2        Eco Farms Organics                                          Last 4 digits of account number                                                           $512.28
          Nonpriority Creditor's Name
          2037 Lemoine Ave., #181                                     When was the debt incurred?
          Fort Lee, NJ 07024
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 32 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 65 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.8
 3        Ecuavina Inc. (Pan de Casa)                                 Last 4 digits of account number                                                           $581.40
          Nonpriority Creditor's Name
          PO Box 5246                                                 When was the debt incurred?
          Plainfield, NJ 07060
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.8
 4        Ehrlich                                                     Last 4 digits of account number                                                           $218.76
          Nonpriority Creditor's Name
          PO Box 13848                                                When was the debt incurred?
          Reading, PA 19612-3848
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.8
 5        Eldorado Coffee Ltd.                                        Last 4 digits of account number                                                           $907.65
          Nonpriority Creditor's Name
          56-75 79th St.                                              When was the debt incurred?
          Maspeth, NY 11378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 33 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 66 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.8
 6        Elite Cookies Inc.                                          Last 4 digits of account number                                                           $682.60
          Nonpriority Creditor's Name
          2221 5th Ave.                                               When was the debt incurred?
          Ronkonkoma, NY 11779
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.8
 7        Ercomar Imports                                             Last 4 digits of account number                                                           $825.00
          Nonpriority Creditor's Name
          619 North 8th St.                                           When was the debt incurred?
          Newark, NJ 07107
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.8
 8        Evergreen NJ Flower                                         Last 4 digits of account number                                                         $1,746.00
          Nonpriority Creditor's Name
          230 Cliff St.                                               When was the debt incurred?
          Cliffside Park, NJ 07010
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 34 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 67 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.8
 9        FABI-SAA Inc.                                               Last 4 digits of account number                                                         $5,067.05
          Nonpriority Creditor's Name
          36 Mckinley Avenue                                          When was the debt incurred?
          East Hanover, NJ 07936
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 0        Family Food Distributors, Inc.                              Last 4 digits of account number                                                           $885.20
          Nonpriority Creditor's Name
          969 Newark Turnpike                                         When was the debt incurred?
          Unit D
          Kearny, NJ 07032
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 1        Family Food Distributors, Inc.                              Last 4 digits of account number                                                         $4,205.35
          Nonpriority Creditor's Name
          969 Newark Turnpike                                         When was the debt incurred?
          Unit D
          Kearny, NJ 07032
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 35 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 68 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.9
 2        Fedway Wine & Spirit                                        Last 4 digits of account number                                                         $2,699.50
          Nonpriority Creditor's Name
          PO Box 651                                                  When was the debt incurred?
          Basking Ridge, NJ 07920-0651
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 3        Fernando's Bakery                                           Last 4 digits of account number                                                         $3,399.25
          Nonpriority Creditor's Name
          5 Sherman Street                                            When was the debt incurred?
          Linden, NJ 07036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9      Finest Foods Distributing Co. New
 4        York                                                        Last 4 digits of account number                                                           $748.05
          Nonpriority Creditor's Name
          87-21 76th Street                                           When was the debt incurred?
          Woodhaven, NY 11421
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 36 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 69 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.9
 5        Fire Guard Sprinkler                                        Last 4 digits of account number                                                       $10,915.21
          Nonpriority Creditor's Name
          1A Mount Vernon Street                                      When was the debt incurred?
          Ridgefield Park, NJ 07660
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 6        First Lease Inc.                                            Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          1 Walnut Grove Drive, Suite 300                             When was the debt incurred?
          Horsham, PA 19044
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 7        Firto Lay                                                   Last 4 digits of account number                                                         $7,927.42
          Nonpriority Creditor's Name
          75 Remittance Drive, Suite 1217                             When was the debt incurred?
          Chicago, IL 60675-1217
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 37 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 70 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.9      Flowers Baking Company of
 8        Oxford, Inc.                                                Last 4 digits of account number                                                         $5,430.28
          Nonpriority Creditor's Name
          700 Lincoln Street                                          When was the debt incurred?
          Oxford, PA 19363
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.9
 9        Flowers by J&S Corp.                                        Last 4 digits of account number                                                         $4,981.00
          Nonpriority Creditor's Name
          33 Ludwig Street                                            When was the debt incurred?
          Little Ferry, NJ 07643
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 00       Four Seasons Produce                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 62212                                                When was the debt incurred?
          Baltimore, MD 21264-2212
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 38 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 71 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 01       Franklin Perez                                              Last 4 digits of account number                                                         $2,890.00
          Nonpriority Creditor's Name
          42-14 5th Avenue, Apt 3R                                    When was the debt incurred?
          Brooklyn, NY 11232
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 02       Frozen Foods Partners LLC                                   Last 4 digits of account number                                                         $6,830.80
          Nonpriority Creditor's Name
          PO Box 440244                                               When was the debt incurred?
          Nashville, TN 37244-0244
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 03       Gallo Wine Sales                                            Last 4 digits of account number                                                         $2,864.84
          Nonpriority Creditor's Name
          PO Box 36446                                                When was the debt incurred?
          Newark, NJ 07188-6446
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 39 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 72 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 04       Gator Garwood Partners, Ltd.                                Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          1595 NE 163rd Street                                        When was the debt incurred?
          Miami, FL 33162
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Debtors are guarantors under lease for
                                                                                          property located at 10 South Avenue,
              Yes                                                        Other. Specify   Garwood, NJ.


 4.1
 05       General Trading                                             Last 4 digits of account number                                                      $351,547.13
          Nonpriority Creditor's Name
          455 16th Street                                             When was the debt incurred?
          Carlstadt, NJ 07072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 06       Gold Medal Bakery                                           Last 4 digits of account number                                                           $266.70
          Nonpriority Creditor's Name
          21 Penn Street                                              When was the debt incurred?
          Fall River, MA 02724
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 40 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 73 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 07       Gourmet Bakery Dist.                                        Last 4 digits of account number                                                           $216.45
          Nonpriority Creditor's Name
          PO Box 418770                                               When was the debt incurred?
          Boston, MA 02241-8770
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 08       Goya Foods                                                  Last 4 digits of account number       0412                                              Unknown
          Nonpriority Creditor's Name
          350 County Road                                             When was the debt incurred?
          Jersey City, NJ 07307
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 09       Goya Foods                                                  Last 4 digits of account number       2652                                              Unknown
          Nonpriority Creditor's Name
          350 County Road                                             When was the debt incurred?
          Jersey City, NJ 07307
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 41 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 74 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 10       Grace Apiries                                               Last 4 digits of account number                                                           $271.80
          Nonpriority Creditor's Name
          247 Park St.                                                When was the debt incurred?
          Arcade, NY 14009
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 11       Grace Kennedy Foods (USA)                                   Last 4 digits of account number       2157                                              $4,051.55
          Nonpriority Creditor's Name
          d/b/a La Fe                                                 When was the debt incurred?
          230 Moonachie Avenue
          Moonachie, NJ 07074
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 12       Grace Kennedy Foods (USA)                                   Last 4 digits of account number                                                         $5,745.54
          Nonpriority Creditor's Name
          d/b/a La Fe                                                 When was the debt incurred?
          230 Moonachie Avenue
          Moonachie, NJ 07074
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 42 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 75 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 13       Grand Labs Manufacturing Co.                                Last 4 digits of account number                                                         $5,098.16
          Nonpriority Creditor's Name
          1345 Seneca Avenue                                          When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 14       Grassland Foods & Snack                                     Last 4 digits of account number                                                           $288.96
          Nonpriority Creditor's Name
          PO Box 279                                                  When was the debt incurred?
          Orange, NJ 07050
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 15       Green JS Produce                                            Last 4 digits of account number                                                         $2,334.00
          Nonpriority Creditor's Name
          PO Box 650538                                               When was the debt incurred?
          Fresh Meadows, NY 11365
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 43 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 76 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 16       Greenville Produce LLC                                      Last 4 digits of account number                                                       $73,257.00
          Nonpriority Creditor's Name
          150 Wesley Street                                           When was the debt incurred?
          South Hackensack, NJ 07606
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 17       Gun Soo Youn                                                Last 4 digits of account number                                                       $61,249.10
          Nonpriority Creditor's Name
          232 Anderson Avenue                                         When was the debt incurred?
          Closter, NJ 07624
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan


 4.1
 18       Hajjar Gourmet Foods                                        Last 4 digits of account number                                                           $100.00
          Nonpriority Creditor's Name
          15 Whiteweld Terrace                                        When was the debt incurred?
          Clifton, NJ 07013
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 44 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 77 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 19       Harfenist Kraut & Perlstein, LLP                            Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          Attn: Allen Perlstein                                       When was the debt incurred?
          3000 Marcus Avenue
          New Hyde Park, NY 11042
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Services


 4.1
 20       Heesook Lee                                                 Last 4 digits of account number                                                       $30,000.00
          Nonpriority Creditor's Name
          17 Margo Way                                                When was the debt incurred?
          Alpine, NJ 07624
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan


 4.1
 21       Hershey Creamery                                            Last 4 digits of account number                                                         $2,831.24
          Nonpriority Creditor's Name
          240 Evans Way                                               When was the debt incurred?
          Branchburg, NJ 08876-3936
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 45 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 78 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 22       Hillcrest Garden, Inc.                                      Last 4 digits of account number                                                           $245.00
          Nonpriority Creditor's Name
          96 West Century Road                                        When was the debt incurred?
          Paramus, NJ 07652-1428
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 23       I and U LLC                                                 Last 4 digits of account number                                                           $928.95
          Nonpriority Creditor's Name
          66 Mattatuck Heights                                        When was the debt incurred?
          Waterbury, CT 06705
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 24       India Beverage Inc.                                         Last 4 digits of account number                                                         $5,376.05
          Nonpriority Creditor's Name
          1401 Viele Avenue                                           When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 46 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 79 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 25       J&J Farms Creamery                                          Last 4 digits of account number                                                       $42,938.28
          Nonpriority Creditor's Name
          57-48 49th Street                                           When was the debt incurred?
          Maspeth, NY 11378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 26       J&R Cutlery                                                 Last 4 digits of account number                                                           $273.22
          Nonpriority Creditor's Name
          1275 Bloomfield Ave.                                        When was the debt incurred?
          Bldg. 9, Unit 80
          Fairfield, NJ 07004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 27       JGM Wholesale Bakery                                        Last 4 digits of account number                                                           $642.60
          Nonpriority Creditor's Name
          26 Elm Pl                                                   When was the debt incurred?
          Amityville, NY 11701
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 47 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 80 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 28       JPMorgan Chase Sapphire Card                                Last 4 digits of account number       0412                                            $13,854.00
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.1
 29       JPMorgan Chase Sapphire Card                                Last 4 digits of account number       5073                                            $12,069.00
          Nonpriority Creditor's Name
          PO Box 1423                                                 When was the debt incurred?
          Charlotte, NC 28201-1423
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card


 4.1
 30       JT Supreme Distributors                                     Last 4 digits of account number                                                       $11,200.60
          Nonpriority Creditor's Name
          70-36 137th Street                                          When was the debt incurred?
          Flushing, NY 11367
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 48 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 81 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 31       K&F                                                         Last 4 digits of account number                                                         $1,498.10
          Nonpriority Creditor's Name
          308 East Ruby Ave., Unit A                                  When was the debt incurred?
          Palisades Park, NJ 07650
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 32       Katzman Produce                                             Last 4 digits of account number                                                       $57,105.97
          Nonpriority Creditor's Name
          213B New York City Terminal                                 When was the debt incurred?
          Market
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 33       Keep Healthy                                                Last 4 digits of account number                                                           $213.20
          Nonpriority Creditor's Name
          1019 Fort Salonga Road                                      When was the debt incurred?
          Northport, NY 11768
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 49 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 82 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 34       Kellermeyer Bergensons Services                             Last 4 digits of account number                                                         $4,411.19
          Nonpriority Creditor's Name
          1575 Henthorne Drive                                        When was the debt incurred?
          Maumee, OH 43537
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 35       Kohler                                                      Last 4 digits of account number                                                       $17,923.25
          Nonpriority Creditor's Name
          150 Wagaraw Road                                            When was the debt incurred?
          PO Box 643
          Hawthorne, NJ 07507
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 36       Krasi Invest Holding Sedika Foods                           Last 4 digits of account number                                                         $6,396.77
          Nonpriority Creditor's Name
          4201 Kennedy Road                                           When was the debt incurred?
          South Plainfield, NJ 07080
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 50 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 83 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 37       Krinos Foods LLC                                            Last 4 digits of account number                                                         $2,364.00
          Nonpriority Creditor's Name
          1750 Bathgate Ave.                                          When was the debt incurred?
          Bronx, NY 10457
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 38       L & R Distributors, Inc.                                    Last 4 digits of account number                                                         $7,632.61
          Nonpriority Creditor's Name
          26800 Network Place                                         When was the debt incurred?
          Chicago, IL 60673
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 39       L&A Pork                                                    Last 4 digits of account number                                                         $3,067.37
          Nonpriority Creditor's Name
          945 Lincoln Street                                          When was the debt incurred?
          Hazleton, PA 18201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 51 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 84 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 40       La Centroamericana                                          Last 4 digits of account number                                                         $1,139.65
          Nonpriority Creditor's Name
          2280 Union Blvd.                                            When was the debt incurred?
          Bay Shore, NY 11706
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 41       Lab Imports                                                 Last 4 digits of account number                                                         $1,867.34
          Nonpriority Creditor's Name
          PO Box 250842                                               When was the debt incurred?
          New York, NY 10025
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 42       Latin American Dist., Inc.                                  Last 4 digits of account number                                                         $2,754.89
          Nonpriority Creditor's Name
          307 Industrial Way West                                     When was the debt incurred?
          Eatontown, NJ 07724
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 52 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 85 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 43       Latin American Dist., Inc.                                  Last 4 digits of account number       7223                                                $369.66
          Nonpriority Creditor's Name
          307 Industrial Way West                                     When was the debt incurred?
          Eatontown, NJ 07724
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 44       Latinfood US Corp.                                          Last 4 digits of account number                                                           $237.72
          Nonpriority Creditor's Name
          80 Keyland Ct., Unit B                                      When was the debt incurred?
          Bohemia, NY 11716
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 45       Latino Food Distributors                                    Last 4 digits of account number                                                         $2,203.27
          Nonpriority Creditor's Name
          90 Avocado St.                                              When was the debt incurred?
          Springfield, MA 01104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 53 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 86 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 46       Latitude Beverage Co.                                       Last 4 digits of account number                                                         $2,332.00
          Nonpriority Creditor's Name
          PO Box 843045                                               When was the debt incurred?
          Boston, MA 02284-3045
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 47       Liberty Coca-Cola                                           Last 4 digits of account number                                                       $13,239.52
          Nonpriority Creditor's Name
          PO Box 780810                                               When was the debt incurred?
          Philadelphia, PA 19170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 48       Liberty Coca-Cola                                           Last 4 digits of account number       6333                                              $9,297.12
          Nonpriority Creditor's Name
          PO Box 780810                                               When was the debt incurred?
          Philadelphia, PA 19170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 54 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 87 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 49       Lily Produce                                                Last 4 digits of account number                                                       $97,353.00
          Nonpriority Creditor's Name
          435-A NYC Terminal Market                                   When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 50       Loan Builder                                                Last 4 digits of account number                                                       $27,821.38
          Nonpriority Creditor's Name
          c/o Swift Financial, LLC                                    When was the debt incurred?
          3505 Sliverside Road
          Wilmington, DE 19810
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 51       Loan Builder                                                Last 4 digits of account number                                                       $56,601.40
          Nonpriority Creditor's Name
          c/o Swift Financial, LLC                                    When was the debt incurred?
          3505 Sliverside Road
          Wilmington, DE 19810
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 55 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 88 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 52       Los Olivos                                                  Last 4 digits of account number                                                         $4,195.55
          Nonpriority Creditor's Name
          105 Bi County Blvd                                          When was the debt incurred?
          Farmingdale, NY 11735
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 53       Lucky Home                                                  Last 4 digits of account number                                                         $1,257.70
          Nonpriority Creditor's Name
          852 Holmdel Road                                            When was the debt incurred?
          Holmdel, NJ 07733
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 54       Magic World of Roses                                        Last 4 digits of account number                                                         $1,853.75
          Nonpriority Creditor's Name
          173 Spruce St.                                              When was the debt incurred?
          Bloomfield, NJ 07003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 56 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 89 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 55       Mamita's Food                                               Last 4 digits of account number                                                           $235.00
          Nonpriority Creditor's Name
          500 Getty Ave.                                              When was the debt incurred?
          Clifton, NJ 07011
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 56       Mamita's Ices                                               Last 4 digits of account number                                                         $7,350.00
          Nonpriority Creditor's Name
          104-11 100th Street                                         When was the debt incurred?
          Ozone Park, NY 11417
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 57       Mamtakim                                                    Last 4 digits of account number                                                         $1,513.06
          Nonpriority Creditor's Name
          PO Box 30720                                                When was the debt incurred?
          Staten Island, NY 10303
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 57 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 90 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 58       Mana's Bakery                                               Last 4 digits of account number                                                         $1,684.50
          Nonpriority Creditor's Name
          2 Hawthorne St.                                             When was the debt incurred?
          Farmingdale, NY 11735
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 59       Marlow Candy & Nut Company                                  Last 4 digits of account number                                                           $707.75
          Nonpriority Creditor's Name
          65 Honeck St.                                               When was the debt incurred?
          Englewood, NJ 07631
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 60       Master Dairies Inc.                                         Last 4 digits of account number                                                       $18,088.32
          Nonpriority Creditor's Name
          716 Hickory Hill Road                                       When was the debt incurred?
          Wyckoff, NJ 07481
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 58 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 91 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 61       Max Distributor 1 Corp.                                     Last 4 digits of account number                                                       $29,599.02
          Nonpriority Creditor's Name
          1980 New Highway                                            When was the debt incurred?
          Farmingdale, NY 11735
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 62       McKee Foods                                                 Last 4 digits of account number                                                         $1,192.05
          Nonpriority Creditor's Name
          PO Box 2118                                                 When was the debt incurred?
          Collegedale, TN 37315-2118
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 63       Mercedes-Benz Financial                                     Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          PO Box 5029                                                 When was the debt incurred?
          Carol Stream, IL 60197-5209
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Lease rejection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 59 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 92 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 64       MGA Flower                                                  Last 4 digits of account number                                                         $1,169.70
          Nonpriority Creditor's Name
          110 Buck Road                                               When was the debt incurred?
          Holland, PA 18966
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 65       MI Pueblo Corp.                                             Last 4 digits of account number                                                           $230.00
          Nonpriority Creditor's Name
          32-49 Fulton St.                                            When was the debt incurred?
          Brooklyn, NY 11208
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 66       Mission Foods                                               Last 4 digits of account number                                                       $14,580.69
          Nonpriority Creditor's Name
          PO Box 843789                                               When was the debt incurred?
          Dallas, TX 75284-3789
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of buisness debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 60 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 93 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 67       Mission Foods                                               Last 4 digits of account number       9312                                              $3,883.01
          Nonpriority Creditor's Name
          PO Box 843789                                               When was the debt incurred?
          Dallas, TX 75284-3789
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 68       Modern Joa Trading, Inc.                                    Last 4 digits of account number                                                      $591,698.35
          Nonpriority Creditor's Name
          58-58 56th Drive                                            When was the debt incurred?
          Maspeth, NY 11378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 69       Mondelez Global                                             Last 4 digits of account number                                                         $5,161.72
          Nonpriority Creditor's Name
          PO Box 70064                                                When was the debt incurred?
          Chicago, IL 60673
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 61 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 94 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 70       Mr. Sunflower                                               Last 4 digits of account number                                                         $1,505.00
          Nonpriority Creditor's Name
          429 Brinkerhoff Ave.                                        When was the debt incurred?
          Palisades Park, NJ 07650
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 71       Musco Food Corp.                                            Last 4 digits of account number                                                         $3,420.12
          Nonpriority Creditor's Name
          57-01 49th Place                                            When was the debt incurred?
          Maspeth, NY 11378-2020
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 72       NAC Foods                                                   Last 4 digits of account number                                                         $5,218.75
          Nonpriority Creditor's Name
          235-239 Commercial Avenue                                   When was the debt incurred?
          Palisades Park, NJ 07650
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 62 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 95 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 73       National Packing Corp.                                      Last 4 digits of account number                                                         $1,600.00
          Nonpriority Creditor's Name
          538 Craven St.                                              When was the debt incurred?
          Bronx, NY 10474
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 74       Natural Foods                                               Last 4 digits of account number                                                       $46,111.51
          Nonpriority Creditor's Name
          64-31 108th Street, Suite 1070                              When was the debt incurred?
          Forest Hills, NY 11375
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 75       Nature Garden                                               Last 4 digits of account number                                                         $7,337.54
          Nonpriority Creditor's Name
          35-02 150 Place Apt #B                                      When was the debt incurred?
          Flushing, NY 11354
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 63 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 96 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 76       Nature Soy LLC                                              Last 4 digits of account number                                                         $1,682.00
          Nonpriority Creditor's Name
          713 N. 10th St.                                             When was the debt incurred?
          Philadelphia, PA 19123
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 77       Nebraskland                                                 Last 4 digits of account number       3191                                           $132,202.70
          Nonpriority Creditor's Name
          355 Food Center Dr.                                         When was the debt incurred?
          Buidling G
          Bronx, NY 10475
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of buisness debt


 4.1
 78       Nebraskland                                                 Last 4 digits of account number                                                      $238,083.76
          Nonpriority Creditor's Name
          355 Food Center Dr.                                         When was the debt incurred?
          Buidling G
          Bronx, NY 10475
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 64 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 97 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 79       Nema                                                        Last 4 digits of account number                                                           $228.17
          Nonpriority Creditor's Name
          408 E. Elizabeth Ave.                                       When was the debt incurred?
          Linden, NJ 07036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 80       New Bank                                                    Last 4 digits of account number       6002                                         $1,530,931.48
          Nonpriority Creditor's Name
          189 Homans Avenue                                           When was the debt incurred?
          Closter, NJ 07624
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 81       New Bank                                                    Last 4 digits of account number       6098                                         $1,308,070.47
          Nonpriority Creditor's Name
          189 Homans Avenue                                           When was the debt incurred?
          Closter, NJ 07624
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 65 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 98 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 82       New Bank                                                    Last 4 digits of account number       6022                                         $2,333,383.62
          Nonpriority Creditor's Name
          189 Homans Avenue                                           When was the debt incurred?
          Closter, NJ 07624
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 83       New Brunswick Parking Authority                             Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Ruben D. Perez, Esq.                                    When was the debt incurred?
          555 US Highway 1 South, Suite 440
          Iselin, NJ 08830
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Debtors are guarantors under lease for
                                                                                          property located at 100 Kirkpatrick Street,
              Yes                                                        Other. Specify   New Brunswick, NJ.


 4.1
 84       New England Beverages                                       Last 4 digits of account number                                                           $520.91
          Nonpriority Creditor's Name
          1801 Boone Ave.                                             When was the debt incurred?
          Bronx, NY 10460
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 66 of 99
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            Case 19-24863-JKS                         Doc 1           Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                                     Document     Page 99 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 4.1
 85       New Jersey Grinding                                         Last 4 digits of account number                                                           $563.34
          Nonpriority Creditor's Name
          1275 Bloomfield Ave.                                        When was the debt incurred?
          Bldg. 9, Ste. 80
          Fairfield, NJ 07004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 86       New York Produce                                            Last 4 digits of account number                                                         $1,738.55
          Nonpriority Creditor's Name
          125 Seaview Drive                                           When was the debt incurred?
          Secaucus, NJ 07094
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal guaranty of business debt


 4.1
 87       Nissan Motor Acceptance                                     Last 4 digits of account number                                                       $11,480.00
          Nonpriority Creditor's Name
          PO Box 660360                                               When was the debt incurred?
          Dallas, TX 75266
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Co-signer on 2016 Nissan Rouge S




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 67 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 100 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.1
 88       Northern Eagle Beverage                                    Last 4 digits of account number                                                         $3,095.20
          Nonpriority Creditor's Name
          600 16th Street                                            When was the debt incurred?
          Carlstadt, NJ 07072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 89       NU, Inc.                                                   Last 4 digits of account number                                                         $3,398.47
          Nonpriority Creditor's Name
          610 Commerical Avenue                                      When was the debt incurred?
          Carlstadt, NJ 07072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 90       NY Fancy Natural Foods Inc.                                Last 4 digits of account number                                                         $2,591.35
          Nonpriority Creditor's Name
          154 Morgan Avenue                                          When was the debt incurred?
          Brooklyn, NY 11237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 68 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 101 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.1
 91       Oaxaca Mexican                                             Last 4 digits of account number                                                           $952.13
          Nonpriority Creditor's Name
          100 8th Street                                             When was the debt incurred?
          Passaic, NJ 07055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 92       On time distribution                                       Last 4 digits of account number                                                       $10,079.17
          Nonpriority Creditor's Name
          85 5th Avenue, Unit 30                                     When was the debt incurred?
          Paterson, NJ 07524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 93       Oster Belleville Properties LLC                            Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Oster Properties                                       When was the debt incurred?
          429 Sylvan Avenue
          Englewood Cliffs, NJ 07032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Debtors are guarantors under lease for
                                                                                         property located at 414 Main Street,
              Yes                                                       Other. Specify   Belleville, NJ.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 69 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 102 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.1
 94       PA China Farm, Inc.                                        Last 4 digits of account number                                                       $14,796.03
          Nonpriority Creditor's Name
          3670 S. Galloway Street                                    When was the debt incurred?
          Philadelphia, PA 19148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 95       Palenque Provision                                         Last 4 digits of account number                                                           $444.80
          Nonpriority Creditor's Name
          56 Loretta Street                                          When was the debt incurred?
          Hopelawn, NJ 08861
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 96       Paloma Foods, LLC                                          Last 4 digits of account number                                                         $6,301.81
          Nonpriority Creditor's Name
          PO Box 62                                                  When was the debt incurred?
          Ridgefield, NJ 07657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 70 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 103 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.1
 97       Pan on the Way, LLC                                        Last 4 digits of account number                                                         $2,431.00
          Nonpriority Creditor's Name
          7-9 Poplar Street                                          When was the debt incurred?
          Passaic, NJ 07055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 98       Paraco Gas Corporation                                     Last 4 digits of account number                                                         $1,833.50
          Nonpriority Creditor's Name
          4700 S. Clinton Ave.                                       When was the debt incurred?
          South Plainfield, NJ 07080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.1
 99       Parks Exterminator USA                                     Last 4 digits of account number                                                         $1,740.00
          Nonpriority Creditor's Name
          40-04 165 Street, 3F                                       When was the debt incurred?
          Flushing, NY 11358
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 71 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 104 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 00       Paterson Pickle                                            Last 4 digits of account number                                                           $465.00
          Nonpriority Creditor's Name
          285 4th Ave.                                               When was the debt incurred?
          Paterson, NJ 07514
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 01       PBC Pepsi Beverages Company                                Last 4 digits of account number       5990                                              $1,356.55
          Nonpriority Creditor's Name
          75 Remittance Drive, Suite 1884                            When was the debt incurred?
          Chicago, IL 60675-1884
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of buisness debt


 4.2
 02       PBC Pepsi Beverages Company                                Last 4 digits of account number       1008                                              $3,064.62
          Nonpriority Creditor's Name
          75 Remittance Drive, Suite 1884                            When was the debt incurred?
          Chicago, IL 60675-1884
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 72 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 105 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 03       Perez Distribution                                         Last 4 digits of account number                                                         $2,322.90
          Nonpriority Creditor's Name
          25 Shady Street                                            When was the debt incurred?
          Paterson, NJ 07524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 04       Peru Food                                                  Last 4 digits of account number                                                         $6,261.12
          Nonpriority Creditor's Name
          PO Box 419                                                 When was the debt incurred?
          West New York, NJ 07093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 05       Phil-Am Trading                                            Last 4 digits of account number                                                         $2,370.50
          Nonpriority Creditor's Name
          324-330 Hoboken Avenue                                     When was the debt incurred?
          Jersey City, NJ 07306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 73 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 106 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 06       Porky Products Inc.                                        Last 4 digits of account number       1429                                              $3,470.03
          Nonpriority Creditor's Name
          PO Box 18057                                               When was the debt incurred?
          Newark, NJ 07191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of buisness debt


 4.2
 07       Porky Products Inc.                                        Last 4 digits of account number                                                         $5,545.36
          Nonpriority Creditor's Name
          PO Box 18057                                               When was the debt incurred?
          Newark, NJ 07191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 08       Premier Bakeries                                           Last 4 digits of account number                                                             $91.09
          Nonpriority Creditor's Name
          725 River Road, ste. 32-288                                When was the debt incurred?
          Edgewater, NJ 07020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 74 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 107 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 09       Primos Bakery                                              Last 4 digits of account number                                                         $2,481.10
          Nonpriority Creditor's Name
          47-20 Junction Blvd                                        When was the debt incurred?
          Corona, NY 11368
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 10       Procacci Bros. (GS DIstribution)                           Last 4 digits of account number                                                         $1,597.77
          Nonpriority Creditor's Name
          3333 S. Front Street                                       When was the debt incurred?
          Philadelphia, PA 19148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 11       Puebla Wholesale                                           Last 4 digits of account number                                                         $2,330.25
          Nonpriority Creditor's Name
          118 First Street                                           When was the debt incurred?
          Passaic, NJ 07055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 75 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 108 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2      Quality Plus Provision (Boar's
 12       Head)                                                      Last 4 digits of account number                                                         $7,361.45
          Nonpriority Creditor's Name
          PO Box 799                                                 When was the debt incurred?
          Englishtown, NJ 07726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 13       RC World Services Enterprises                              Last 4 digits of account number                                                           $715.00
          Nonpriority Creditor's Name
          6904 Grand Ave.                                            When was the debt incurred?
          North Bergen, NJ 07047
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 14       Ready Refresh                                              Last 4 digits of account number                                                       $11,010.00
          Nonpriority Creditor's Name
          PO Box 856192                                              When was the debt incurred?
          Louisville, KY 40285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 76 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 109 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 15       Real Kosher Ice Cream Inc.                                 Last 4 digits of account number                                                           $726.00
          Nonpriority Creditor's Name
          3614 15th Ave.                                             When was the debt incurred?
          Brooklyn, NY 11218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 16       Reyes Produce                                              Last 4 digits of account number                                                         $1,160.00
          Nonpriority Creditor's Name
          540 Faile St.                                              When was the debt incurred?
          Bronx, NY 10475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 17       Rio Grande Food Products, Inc.                             Last 4 digits of account number                                                           $640.46
          Nonpriority Creditor's Name
          150 Oser Ave.                                              When was the debt incurred?
          PO Box 13221
          Hauppauge, NY 11788
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 77 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 110 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 18       RNL Foods                                                  Last 4 digits of account number                                                           $357.75
          Nonpriority Creditor's Name
          495 River Road                                             When was the debt incurred?
          Clifton, NJ 07014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 19       Robert Bruce Healthcare LLC                                Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          17 Industrial Avenue                                       When was the debt incurred?
          Fairview, NJ 07022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Debtors are guarantors under lease for
                                                                                         property located at 19 Industial Avenue,
              Yes                                                       Other. Specify   Fairview, NJ.


 4.2
 20       Rol-Rom Foods                                              Last 4 digits of account number                                                         $4,989.20
          Nonpriority Creditor's Name
          33 6th Avenue                                              When was the debt incurred?
          Paterson, NJ 07524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 78 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 111 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 21       Rosemarie Bakery                                           Last 4 digits of account number                                                           $529.80
          Nonpriority Creditor's Name
          96 Vreeland St.                                            When was the debt incurred?
          Staten Island, NY 10302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 22       Rua USA                                                    Last 4 digits of account number                                                         $1,512.56
          Nonpriority Creditor's Name
          47-00 Northern Blvd.                                       When was the debt incurred?
          Long Island City, NY 11101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 23       Russ Monico Provision (Thumman)                            Last 4 digits of account number                                                       $17,599.79
          Nonpriority Creditor's Name
          6214 Jefferson Street                                      When was the debt incurred?
          West New York, NJ 07093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 79 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 112 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 24       RYECO, LLC                                                 Last 4 digits of account number                                                         $4,936.00
          Nonpriority Creditor's Name
          6700 Essington Avenue, Units                               When was the debt incurred?
          C3-C7
          Philadelphia, PA 19153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 25       Sabanero NY                                                Last 4 digits of account number                                                           $424.58
          Nonpriority Creditor's Name
          19-34 38th St.                                             When was the debt incurred?
          Astoria, NY 11105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 26       Safeguard Chemical Corporation                             Last 4 digits of account number                                                           $415.49
          Nonpriority Creditor's Name
          411 Wales Ave.                                             When was the debt incurred?
          Bronx, NY 10454
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 80 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 113 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 27       Salud Natural                                              Last 4 digits of account number                                                           $465.00
          Nonpriority Creditor's Name
          200 Passaic Street                                         When was the debt incurred?
          Hackensack, NJ 07601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 28       Santos Bakery                                              Last 4 digits of account number                                                         $7,657.56
          Nonpriority Creditor's Name
          123 Hudson Street                                          When was the debt incurred?
          Newark, NJ 07103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 29       Schueler Dist.                                             Last 4 digits of account number                                                             $63.80
          Nonpriority Creditor's Name
          16 Morristown Road                                         When was the debt incurred?
          Elizabeth, NJ 07208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 81 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 114 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 30       Seabrite Corp.                                             Last 4 digits of account number                                                         $1,026.91
          Nonpriority Creditor's Name
          574 Ferry St.                                              When was the debt incurred?
          Newark, NJ 07105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 31       Simone International Liquor                                Last 4 digits of account number                                                         $2,203.00
          Nonpriority Creditor's Name
          186 Parish Drive                                           When was the debt incurred?
          Wayne, NJ 07470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 32       Smart Foods                                                Last 4 digits of account number                                                         $1,809.49
          Nonpriority Creditor's Name
          72 Wabash Ave.                                             When was the debt incurred?
          Clifton, NJ 07011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 82 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 115 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 33       Spicy Flavor                                               Last 4 digits of account number                                                       $16,899.11
          Nonpriority Creditor's Name
          PO Box 757                                                 When was the debt incurred?
          Oxon Hill, MD 20750
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 34       Starr Gern Davison & Rubin, PC                             Last 4 digits of account number                                                       $18,832.50
          Nonpriority Creditor's Name
          105 Eisenhower Parkway                                     When was the debt incurred?
          Roseland, NJ 07068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services


 4.2
 35       Staten Island Grinding Service, Inc.                       Last 4 digits of account number                                                         $1,354.67
          Nonpriority Creditor's Name
          507 Midland Ave.                                           When was the debt incurred?
          Staten Island, NY 10306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 83 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 116 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 36       Sun Hing Foods                                             Last 4 digits of account number                                                         $1,589.10
          Nonpriority Creditor's Name
          271 Harbor Way                                             When was the debt incurred?
          South San Francisco, CA 94080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 37       Super Bread II                                             Last 4 digits of account number                                                         $9,758.61
          Nonpriority Creditor's Name
          443 Schiller Street                                        When was the debt incurred?
          Elizabeth, NJ 07206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of buisness debt


 4.2
 38       Super Bread II                                             Last 4 digits of account number       0260                                                $981.44
          Nonpriority Creditor's Name
          443 Schiller Street                                        When was the debt incurred?
          Elizabeth, NJ 07206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of buisness debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 84 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 117 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 39       Sweet Rainbow Candy & Nuts                                 Last 4 digits of account number                                                         $3,107.65
          Nonpriority Creditor's Name
          226 South 12th Avenue                                      When was the debt incurred?
          Mount Vernon, NY 10550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 40       Tano Shopping Center Limited                               Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          100 Woodbridge Center Drive, Suite                         When was the debt incurred?
          301
          PO Box 29
          Woodbridge, NJ 07095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Debtors are guarantors under lease for
              Yes                                                       Other. Specify   property located in Edison, NJ.


 4.2
 41       Tastle USA Inc.                                            Last 4 digits of account number                                                           $150.32
          Nonpriority Creditor's Name
          PO Box 140252                                              When was the debt incurred?
          Brooklyn, NY 11214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 85 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 118 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 42       Tavarez Distributors                                       Last 4 digits of account number                                                         $6,557.25
          Nonpriority Creditor's Name
          PO Box 140252                                              When was the debt incurred?
          Brooklyn, NY 11214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 43       Taystee Treat                                              Last 4 digits of account number                                                         $6,679.24
          Nonpriority Creditor's Name
          1 Roselle Street                                           When was the debt incurred?
          Linden, NJ 07036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 44       Teixeira's Bakery                                          Last 4 digits of account number                                                         $9,308.58
          Nonpriority Creditor's Name
          PO Box 5550                                                When was the debt incurred?
          Newark, NJ 07105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 86 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 119 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 45       The Food Squad Distributors                                Last 4 digits of account number                                                         $2,634.03
          Nonpriority Creditor's Name
          1550 5th Avenue                                            When was the debt incurred?
          Bay Shore, NY 11706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 46       Top Family Candy Inc.                                      Last 4 digits of account number                                                         $8,799.79
          Nonpriority Creditor's Name
          50-09 Horatio Parkway                                      When was the debt incurred?
          Bayside, NY 11364
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 47       Top General Merchandise (TGM)                              Last 4 digits of account number                                                         $1,580.26
          Nonpriority Creditor's Name
          728 Berriman St.                                           When was the debt incurred?
          Brooklyn, NY 11208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 87 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 120 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 48       Top System Alarm Inc.                                      Last 4 digits of account number                                                           $543.81
          Nonpriority Creditor's Name
          47-25 Parsons Blvd.                                        When was the debt incurred?
          Flushing, NY 11355
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 49       Topal Foods                                                Last 4 digits of account number                                                           $723.02
          Nonpriority Creditor's Name
          6025 Buchanan Pl.                                          When was the debt incurred?
          West New York, NJ 07093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 50       Toufayan Bakeries                                          Last 4 digits of account number                                                         $2,615.20
          Nonpriority Creditor's Name
          175 Railroad Avenue                                        When was the debt incurred?
          Ridgefield, NJ 07567
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 88 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 121 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 51       Triangle Quality Foods LLC                                 Last 4 digits of account number                                                         $4,967.44
          Nonpriority Creditor's Name
          2306 51st Place                                            When was the debt incurred?
          Hyattsville, MD 20781
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 52       Triunfo Foods                                              Last 4 digits of account number                                                         $4,403.80
          Nonpriority Creditor's Name
          574 Ferry Street                                           When was the debt incurred?
          Newark, NJ 07105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 53       Tropical Cheese Industies, Inc.                            Last 4 digits of account number                                                       $15,868.40
          Nonpriority Creditor's Name
          450 Fayette Street                                         When was the debt incurred?
          PO Box 1357
          Perth Amboy, NJ 08862-1357
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 89 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 122 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 54       Turkana Food, Inc.                                         Last 4 digits of account number                                                         $3,152.70
          Nonpriority Creditor's Name
          555 N. Michigan Avenue                                     When was the debt incurred?
          Kenilworth, NJ 07033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2      Two Steve's Provisions (Boar's
 55       Head)                                                      Last 4 digits of account number                                                       $16,247.88
          Nonpriority Creditor's Name
          13 Dimisa Drive                                            When was the debt incurred?
          Holmdel, NJ 07733
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 56       U.S. Bank                                                  Last 4 digits of account number       8704                                            $28,671.98
          Nonpriority Creditor's Name
          4325 17th Avenue S.                                        When was the debt incurred?
          Fargo, ND 58125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 90 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 123 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 57       U.S. Bank                                                  Last 4 digits of account number       8704                                            $28,671.98
          Nonpriority Creditor's Name
          4325 17th Avenue S.                                        When was the debt incurred?
          Fargo, ND 58125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 58       U.S. Bank                                                  Last 4 digits of account number       9186                                            $11,516.94
          Nonpriority Creditor's Name
          4325 17th Avenue S.                                        When was the debt incurred?
          Fargo, ND 58125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Credit Card


 4.2
 59       U.S. Bank                                                  Last 4 digits of account number       9246                                            $21,287.84
          Nonpriority Creditor's Name
          4325 17th Avenue S.                                        When was the debt incurred?
          Fargo, ND 58125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 91 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 124 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 60       United Food Brand                                          Last 4 digits of account number                                                         $4,611.09
          Nonpriority Creditor's Name
          232 Entin Road                                             When was the debt incurred?
          Newark, NJ 07104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 61       US Department of Labor                                     Last 4 digits of account number                                                      $500,000.00
          Nonpriority Creditor's Name
          Attn: Daniel Hennefeld, Esq.                               When was the debt incurred?
          201 Varick Street, Room 983
          New York, NY 10014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Trade Debt


 4.2
 62       UTZ Quality                                                Last 4 digits of account number                                                       $11,054.82
          Nonpriority Creditor's Name
          PO Box 64801                                               When was the debt incurred?
          Baltimore, MD 21264-4801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of buisness debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 92 of 99
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 125 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 63       UTZ Quality                                                Last 4 digits of account number       1493                                              $4,552.54
          Nonpriority Creditor's Name
          PO Box 64801                                               When was the debt incurred?
          Baltimore, MD 21264-4801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 64       Vel Mac Foods                                              Last 4 digits of account number                                                       $18,103.18
          Nonpriority Creditor's Name
          20 Stewart Place                                           When was the debt incurred?
          Fairfield, NJ 07004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 65       Vila Farms Dairy, Inc.                                     Last 4 digits of account number                                                         $8,327.30
          Nonpriority Creditor's Name
          301 Iroquois Lane                                          When was the debt incurred?
          Franklin Lakes, NJ 07417
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 93 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 126 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 66       Vintage Food                                               Last 4 digits of account number                                                         $5,669.71
          Nonpriority Creditor's Name
          849 Newark Turnpike                                        When was the debt incurred?
          Kearny, NJ 07032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 67       VMT Distributors                                           Last 4 digits of account number                                                         $1,340.28
          Nonpriority Creditor's Name
          19 E. 24th St.                                             When was the debt incurred?
          Paterson, NJ 07514
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 68       W M Brown Group                                            Last 4 digits of account number                                                           $183.24
          Nonpriority Creditor's Name
          999 South Oyster bay Road, Ste.                            When was the debt incurred?
          106
          Bethpage, NY 11714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 94 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                Desc Main
                                                           Document    Page 127 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 69       Walong Marketing, Inc.                                     Last 4 digits of account number                                                         $1,677.50
          Nonpriority Creditor's Name
          95 Caven Point Road                                        When was the debt incurred?
          Jersey City, NJ 07305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 70       White & Shauger, Inc.                                      Last 4 digits of account number                                                         $6,496.76
          Nonpriority Creditor's Name
          433-435 Straight Street                                    When was the debt incurred?
          PO Box 2695
          Paterson, NJ 07501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 71       Winkleblacks                                               Last 4 digits of account number                                                           $618.80
          Nonpriority Creditor's Name
          PO Box 924                                                 When was the debt incurred?
          Rye, NY 10580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 95 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                  Desc Main
                                                           Document    Page 128 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 4.2
 72        Wise Foods                                                Last 4 digits of account number                                                                $7,583.08
           Nonpriority Creditor's Name
           PO Box 822233                                             When was the debt incurred?
           Philadelphia, PA 19182-2233
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt


 4.2
 73        Yorkshire Food Sales Corp.                                Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           2000 Plaza Avenue                                         When was the debt incurred?
           New Hyde Park, NY 11040
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guaranty of business debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 375 Tompkins Owner, LLC                                       Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 900 Route 9 North                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 400
 Woodbridge, NJ 07095
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Axis Capital                                                  Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 308 N. Locust Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Island, NE 68801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Canada Dry Bottling                                           Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 741078                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30374-1078
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Canada Dry Bottling                                           Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 96 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                  Desc Main
                                                           Document    Page 129 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                     Case number (if known)

 PO Box 741078                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30374-1078
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Diaz Foods                                                    Line 4.72 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5501 Fulton Industrial Boulevard                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30336
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Diaz Foods                                                    Line 4.73 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5501 Fulton Industrial Boulevard                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30336
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 E. Armata, Inc.                                               Line 4.80 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Gregory Adam Brown, Esq.                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 McCarron & Diess
 707 Walt Whitman Road, Second
 Floor
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Edward J. LoBello                                             Line 4.180 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Meyer, Suozzi, English & Klein, PC                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 900 Stewart Avenue, Suite 300
 PO Box 9194
 Garden City, NY 11530-9194
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Edward J. LoBello                                             Line 4.181 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Meyer, Suozzi, English & Klein, PC                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 900 Stewart Avenue, Suite 300
 PO Box 9194
 Garden City, NY 11530-9194
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Edward J. LoBello                                             Line 4.182 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Meyer, Suozzi, English & Klein, PC                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 900 Stewart Avenue, Suite 300
 PO Box 9194
 Garden City, NY 11530-9194
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Family Food                                                   Line 4.98 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 969 Newark Turnpike Unit D                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Kearny, NJ 07032
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gregory Brown, Esq.                                           Line 4.132 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 McCarron & Diess                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 707 Walt Whitman Road
 Melville, NY 11747
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Larry M. Cole, Esq.                                           Line 4.261 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 105 Eisenhower Parkway, Suite 401                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Roseland, NJ 07068
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 97 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                                  Desc Main
                                                           Document    Page 130 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                    Case number (if known)

 Lily Produce Inc.                                             Line 4.149 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 25 John Bean Court                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Port Washington, NY 11050
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nathan Chun, Esq.                                             Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 300 Chubb Avenue                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Lyndhurst, NJ 07071
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Office of the Attorney General                                Line 2.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Richard J. Hughes Justice Complex                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 25 Market Street
 PO Box 112
 Trenton, NJ 08625-0112
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard Klein                                                 Line 4.77 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 RHK Recovery Group                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 1670 Old Country Road, Suite 202
 Plainview, NY 11803
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sun W. Young                                                  Line 4.117 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 38 West 32nd Street, Suite 900A                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Department of Labor                                        Line 4.261 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Long Island District Office                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1400 Old County Road, Suite 410
 Westbury, NY 11590-5119
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Department of Labor                                        Line 4.261 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 The Curtis Center, Suite 850 West                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 170 S. Independence Mall West
 Philadelphia, PA 19106-3317
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 98 of 99
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                     Desc Main
                                                           Document    Page 131 of 206
 Debtor 1 Ki Hyung Kim
 Debtor 2 Hye Sook Ha                                                                                Case number (if known)

                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             10,705,985.72

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             10,705,985.72




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 99 of 99
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                Case 19-24863-JKS                       Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                  Desc Main
                                                             Document    Page 132 of 206
 Fill in this information to identify your case:

 Debtor 1                  Ki Hyung Kim
                           First Name                         Middle Name            Last Name

 Debtor 2                  Hye Sook Ha
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Chrysler Capital                                                           42 month lease for 2019 Jeep Cherokee
               PO Box 961275
               Fort Worth, TX 76161

     2.2       Honda Financial Services                                                   36 month lease for 2019 Honda Pilot
               2080 Cabot Blvd W.
               Langhorne, PA 19047

     2.3       Toyota Motor Credit                                                        36 month lease of 2018 Toyota Rav4 (expires on 1/19/21).
               PO Box 4102
               Carol Stream, IL 60197-4102




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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               Case 19-24863-JKS                          Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                      Desc Main
                                                               Document    Page 133 of 206
 Fill in this information to identify your case:

 Debtor 1                   Ki Hyung Kim
                            First Name                           Middle Name       Last Name

 Debtor 2                   Hye Sook Ha
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         BHSM Group LLC                                                                        Schedule D, line
                19 Industrial Avenue                                                                  Schedule E/F, line    4.80
                Fairview, NJ 07022
                                                                                                      Schedule G
                                                                                                   E. Armata, Inc.



    3.2         BHSM Group LLC                                                                       Schedule D, line
                19 Industrial Avenue                                                                 Schedule E/F, line 4.261
                Fairview, NJ 07022
                                                                                                     Schedule G
                                                                                                   US Department of Labor



    3.3         BHSM Group LLC                                                                        Schedule D, line
                19 Industrial Avenue                                                                  Schedule E/F, line  4.16
                Fairview, NJ 07022
                                                                                                      Schedule G
                                                                                                   Allcounty Recycling, Inc.




Official Form 106H                                                             Schedule H: Your Codebtors                                Page 1 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 134 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      BHSM Group LLC                                                                Schedule D, line
             19 Industrial Avenue                                                          Schedule E/F, line  4.219
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Robert Bruce Healthcare LLC



    3.5      BHSM Group LLC                                                                Schedule D, line
             19 Industrial Avenue                                                          Schedule E/F, line 4.69
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         De Lage Landen Financial Services Inc.



    3.6      Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.1
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         375 Tompkins Owner, LLC



    3.7      Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line  4.41
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Canada Dry Bottling Co. New York, Inc.



    3.8      Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.65
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Cream-o-land



    3.9      Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.31
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Bedesee Caribbean Food Specialist



    3.10     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.33
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Bimbo Bakeries USA, Inc.



    3.11     Bongrae Fruit & Vegetable Corp.                                                Schedule D, line
             375 Tompkins Avenue                                                            Schedule E/F, line  4.94
             Staten Island, NY 10305
                                                                                            Schedule G
                                                                                         Finest Foods Distributing Co. New York




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 2 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 135 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.108
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Goya Foods



    3.13     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.166
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Mission Foods



    3.14     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.237
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Super Bread II



    3.15     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.262
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         UTZ Quality



    3.16     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.181
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         New Bank



    3.17     Bongrae Fruit & Vegetable Corp.                                                Schedule D, line
             375 Tompkins Avenue                                                            Schedule E/F, line   4.80
             Staten Island, NY 10305
                                                                                            Schedule G
                                                                                         E. Armata, Inc.



    3.18     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.261
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.19     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line  4.91
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Family Food Distributors, Inc.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 3 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 136 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.20     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.112
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Grace Kennedy Foods (USA)



    3.21     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.142
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Latin American Dist., Inc.



    3.22     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.178
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Nebraskland



    3.23     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.207
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Porky Products Inc.



    3.24     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line 4.18
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.25     Bongrae Fruit & Vegetable Corp.                                               Schedule D, line
             375 Tompkins Avenue                                                           Schedule E/F, line    4.150
             Staten Island, NY 10305
                                                                                           Schedule G
                                                                                         Loan Builder



    3.26     Dana 183 St. Corp.                                                            Schedule D, line   2.4
             35 West 183rd Street                                                          Schedule E/F, line
             Bronx, NY 10453
                                                                                           Schedule G
                                                                                         New Bank



    3.27     Dana 183 St. Corp.                                                            Schedule D, line
             35 West 183rd Street                                                          Schedule E/F, line    4.182
             Bronx, NY 10453
                                                                                           Schedule G
                                                                                         New Bank




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 4 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 137 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.28     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.65
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Cream-o-land



    3.29     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.31
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Bedesee Caribbean Food Specialist



    3.30     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.33
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Bimbo Bakeries USA, Inc.



    3.31     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.35
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Bindi North America



    3.32     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.72
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Diaz Foods



    3.33     Deoksung Fruit & Vegetable Corp.                                               Schedule D, line
             414 Main Street                                                                Schedule E/F, line 4.98
             Belleville, NJ 07109
                                                                                            Schedule G
                                                                                         Flowers Baking Company of Oxford, Inc.



    3.34     Deoksung Fruit & Vegetable Corp.                                               Schedule D, line
             414 Main Street                                                                Schedule E/F, line  4.94
             Belleville, NJ 07109
                                                                                            Schedule G
                                                                                         Finest Foods Distributing Co. New York



    3.35     Deoksung Fruit & Vegetable Corp.                                               Schedule D, line
             414 Main Street                                                                Schedule E/F, line   4.147
             Belleville, NJ 07109
                                                                                            Schedule G
                                                                                         Liberty Coca-Cola




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 5 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 138 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.36     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.166
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Mission Foods



    3.37     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.201
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         PBC Pepsi Beverages Company



    3.38     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.237
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Super Bread II



    3.39     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.262
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         UTZ Quality



    3.40     Deoksung Fruit & Vegetable Corp.                                               Schedule D, line
             414 Main Street                                                                Schedule E/F, line   4.80
             Belleville, NJ 07109
                                                                                            Schedule G
                                                                                         E. Armata, Inc.



    3.41     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.261
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.42     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line  4.91
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Family Food Distributors, Inc.



    3.43     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.112
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Grace Kennedy Foods (USA)




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 6 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 139 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.44     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.142
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Latin American Dist., Inc.



    3.45     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.178
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Nebraskland



    3.46     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line   2.3
             414 Main Street                                                               Schedule E/F, line
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         New Bank



    3.47     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line    4.193
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         Oster Belleville Properties LLC



    3.48     Deoksung Fruit & Vegetable Corp.                                              Schedule D, line
             414 Main Street                                                               Schedule E/F, line 4.18
             Belleville, NJ 07109
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.49     Gaya Fruit & Vegetable Corp.                                                  Schedule D, line
             1199 Amboy Avenue                                                             Schedule E/F, line 4.261
             Edison, NJ 08837
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.50     Gaya Fruit & Vegetable Corp.                                                  Schedule D, line
             1199 Amboy Avenue                                                             Schedule E/F, line 4.240
             Edison, NJ 08837
                                                                                           Schedule G
                                                                                         Tano Shopping Center Limited



    3.51     Gaya Fruit & Vegetable Corp.                                                  Schedule D, line
             1199 Amboy Avenue                                                             Schedule E/F, line 4.18
             Edison, NJ 08837
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 7 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 140 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.52     Gaya Fruit & Vegetable Corp.                                                   Schedule D, line
             1199 Amboy Avenue                                                              Schedule E/F, line   4.96
             Edison, NJ 08837
                                                                                            Schedule G
                                                                                         First Lease Inc.



    3.53     Grocery Leasing Corp., as Agent for                                           Schedule D, line
             General Trading Co., Inc.                                                     Schedule E/F, line 4.1
             455 16th Street
                                                                                           Schedule G
             Carlstadt, NJ 07072
                                                                                         375 Tompkins Owner, LLC



    3.54     Hanra Fish & Produce Corp.                                                    Schedule D, line
             155-15 Aguilar Avenue                                                         Schedule E/F, line 4.261
             Flushing, NY 11367
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.55     Hanra Fish & Produce Corp.                                                    Schedule D, line
             155-15 Aguilar Avenue                                                         Schedule E/F, line 4.11
             Flushing, NY 11367
                                                                                           Schedule G
                                                                                         Advanced Energy Capital LLC



    3.56     Hanra Fish & Produce Corp.                                                    Schedule D, line
             155-15 Aguilar Avenue                                                         Schedule E/F, line 4.18
             Flushing, NY 11367
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.57     Hanra Fish & Produce Corp.                                                     Schedule D, line
             155-15 Aguilar Avenue                                                          Schedule E/F, line   4.96
             Flushing, NY 11367
                                                                                            Schedule G
                                                                                         First Lease Inc.



    3.58     Hyeongno Lee                                                                  Schedule D, line
             38 W. 32nd Street, Suite 1610                                                 Schedule E/F, line    4.29
             New York, NY 10001
                                                                                           Schedule G
                                                                                         Bank of Hope



    3.59     Hyunho Lee                                                                    Schedule D, line
             300 Chubb Avenue                                                              Schedule E/F, line    4.29
             Lyndhurst, NJ 07071
                                                                                           Schedule G
                                                                                         Bank of Hope




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 8 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 141 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.60     Il Yeon Kwon                                                                  Schedule D, line
             300 Chubb Avenue                                                              Schedule E/F, line    4.29
             Lyndhurst, NJ 07071
                                                                                           Schedule G
                                                                                         Bank of Hope



    3.61     Jennifer Ha                                                                   Schedule D, line
             41 Brenner Place                                                              Schedule E/F, line    4.181
             Alpine, NJ 07620
                                                                                           Schedule G
                                                                                         New Bank



    3.62     Jogyesean Fruit & Vegetable Inc.                                              Schedule D, line
             10 South Avenue                                                               Schedule E/F, line 4.261
             Garwood, NJ 07027
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.63     Jogyesean Fruit & Vegetable Inc.                                              Schedule D, line
             10 South Avenue                                                               Schedule E/F, line 4.104
             Garwood, NJ 07027
                                                                                           Schedule G
                                                                                         Gator Garwood Partners, Ltd.



    3.64     Jogyesean Fruit & Vegetable Inc.                                              Schedule D, line
             10 South Avenue                                                               Schedule E/F, line 4.18
             Garwood, NJ 07027
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.65     Jogyesean Fruit & Vegetable Inc.                                               Schedule D, line
             10 South Avenue                                                                Schedule E/F, line   4.96
             Garwood, NJ 07027
                                                                                            Schedule G
                                                                                         First Lease Inc.



    3.66     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line 4.33
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         Bimbo Bakeries USA, Inc.



    3.67     Kumkang Fruit & Vegetable Corp.                                                Schedule D, line
             100 Kirkpatrick Street                                                         Schedule E/F, line  4.94
             New Brunswick, NJ 08901
                                                                                            Schedule G
                                                                                         Finest Foods Distributing Co. New York




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 9 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 142 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.68     Kumkang Fruit & Vegetable Corp.                                                Schedule D, line
             100 Kirkpatrick Street                                                         Schedule E/F, line   4.147
             New Brunswick, NJ 08901
                                                                                            Schedule G
                                                                                         Liberty Coca-Cola



    3.69     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.166
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         Mission Foods



    3.70     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.262
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         UTZ Quality



    3.71     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line   2.4
             100 Kirkpatrick Street                                                        Schedule E/F, line
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         New Bank



    3.72     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.180
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         New Bank



    3.73     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line   2.5
             100 Kirkpatrick Street                                                        Schedule E/F, line
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         New Bank



    3.74     Kumkang Fruit & Vegetable Corp.                                                Schedule D, line
             100 Kirkpatrick Street                                                         Schedule E/F, line   4.80
             New Brunswick, NJ 08901
                                                                                            Schedule G
                                                                                         E. Armata, Inc.



    3.75     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line 4.261
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         US Department of Labor




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 10 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 143 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.76     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.178
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         Nebraskland



    3.77     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.207
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         Porky Products Inc.



    3.78     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line 4.183
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         New Brunswick Parking Authority



    3.79     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.182
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         New Bank



    3.80     Kumkang Fruit & Vegetable Corp.                                               Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line 4.18
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.81     Kumkang Fruit & Vegetable Inc.                                                Schedule D, line
             100 Kirkpatrick Street                                                        Schedule E/F, line    4.65
             New Brunswick, NJ 08901
                                                                                           Schedule G
                                                                                         Cream-o-land



    3.82     Lorraine Kim                                                                  Schedule D, line   2.3
             PO Box 859                                                                    Schedule E/F, line
             Alpine, NJ 07620
                                                                                           Schedule G
                                                                                         New Bank



    3.83     Lorraine Kim                                                                  Schedule D, line
             PO Box 859                                                                    Schedule E/F, line 4.187
             Alpine, NJ 07620
                                                                                           Schedule G
                                                                                         Nissan Motor Acceptance




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 11 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 144 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.84     Philip Hwang                                                                  Schedule D, line
             174 Godwin Ave #R                                                             Schedule E/F, line 4.261
             Ridgewood, NJ 07450
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.85     Seolak Fruit & Vegetable Ltd                                                  Schedule D, line
             70-63 Parsons Blvd                                                            Schedule E/F, line 4.261
             Fresh Meadows, NY 11365
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.86     Seolak Fruit & Vegetable Ltd                                                   Schedule D, line
             70-63 Parsons Blvd                                                             Schedule E/F, line   4.96
             Fresh Meadows, NY 11365
                                                                                            Schedule G
                                                                                         First Lease Inc.



    3.87     Taebaek Fruit & Vegetable Corp.                                                Schedule D, line
             289 Bergen Boulevard                                                           Schedule E/F, line   4.80
             Fairview, NJ 07022
                                                                                            Schedule G
                                                                                         E. Armata, Inc.



    3.88     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line  4.273
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Yorkshire Food Sales Corp.



    3.89     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line  4.90
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Family Food Distributors, Inc.



    3.90     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line 4.111
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Grace Kennedy Foods (USA)



    3.91     Taebaek Fruit & Vegetable Corp.                                                Schedule D, line
             289 Bergen Boulevard                                                           Schedule E/F, line   4.252
             Fairview, NJ 07022
                                                                                            Schedule G
                                                                                         Triunfo Foods




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 12 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 145 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.92     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line  4.270
             Fairview, NJ 07022
                                                                                          Schedule G
                                                                                         White & Shauger, Inc.



    3.93     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line 4.107
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Gourmet Bakery Dist.



    3.94     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line    4.206
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Porky Products Inc.



    3.95     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line    4.177
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Nebraskland



    3.96     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line   2.4
             289 Bergen Boulevard                                                          Schedule E/F, line
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         New Bank



    3.97     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line 4.261
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         US Department of Labor



    3.98     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line 4.34
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Bimbo Bakeries USA, Inc.



    3.99     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
             289 Bergen Boulevard                                                          Schedule E/F, line    4.36
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Bindi North America




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 13 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 146 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    0        289 Bergen Boulevard                                                          Schedule E/F, line  4.42
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Canada Dry Bottling Co. New York, Inc.



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    1        289 Bergen Boulevard                                                          Schedule E/F, line    4.66
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Cream-o-land



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    2        289 Bergen Boulevard                                                          Schedule E/F, line    4.73
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Diaz Foods



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    3        289 Bergen Boulevard                                                          Schedule E/F, line    4.109
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Goya Foods



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    4        289 Bergen Boulevard                                                          Schedule E/F, line    4.143
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Latin American Dist., Inc.



    3.10     Taebaek Fruit & Vegetable Corp.                                                Schedule D, line
    5        289 Bergen Boulevard                                                           Schedule E/F, line   4.148
             Fairview, NJ 07022
                                                                                            Schedule G
                                                                                         Liberty Coca-Cola



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    6        289 Bergen Boulevard                                                          Schedule E/F, line    4.167
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Mission Foods



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    7        289 Bergen Boulevard                                                          Schedule E/F, line 4.202
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         PBC Pepsi Beverages Company




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 14 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06               Desc Main
                                                           Document    Page 147 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    8        289 Bergen Boulevard                                                          Schedule E/F, line    4.238
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Super Bread II



    3.10     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    9        289 Bergen Boulevard                                                          Schedule E/F, line    4.263
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         UTZ Quality



    3.11     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    0        289 Bergen Boulevard                                                          Schedule E/F, line    4.180
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         New Bank



    3.11     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    1        289 Bergen Boulevard                                                          Schedule E/F, line    4.117
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Gun Soo Youn



    3.11     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    2        289 Bergen Boulevard                                                          Schedule E/F, line    4.182
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         New Bank



    3.11     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    3        289 Bergen Boulevard                                                          Schedule E/F, line 4.18
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         AMUR Equipment Finance



    3.11     Taebaek Fruit & Vegetable Corp.                                                Schedule D, line
    4        289 Bergen Boulevard                                                           Schedule E/F, line   4.96
             Fairview, NJ 07022
                                                                                            Schedule G
                                                                                         First Lease Inc.



    3.11     Taebaek Fruit & Vegetable Corp.                                               Schedule D, line
    5        289 Bergen Boulevard                                                          Schedule E/F, line    4.151
             Fairview, NJ 07022
                                                                                           Schedule G
                                                                                         Loan Builder




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 15 of 16
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                Desc Main
                                                           Document    Page 148 of 206
              Ki Hyung Kim
 Debtor 1 Hye Sook Ha                                                               Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     Woojin Choi                                                                   Schedule D, line
    6        300 Chubb Avenue                                                              Schedule E/F, line    4.29
             Lyndhurst, NJ 07071
                                                                                           Schedule G
                                                                                         Bank of Hope



    3.11     Youngchuk Fruit & Vegetable Corp.                                             Schedule D, line   2.5
    7        10 Schalks Crossing Road                                                      Schedule E/F, line
             Plainsboro, NJ 08536
                                                                                           Schedule G
                                                                                         New Bank



    3.11     Youngchuk Fruit & Vegetable Corp.                                             Schedule D, line
    8        10 Schalks Crossing Road                                                      Schedule E/F, line    4.20
             Plainsboro, NJ 08536
                                                                                           Schedule G
                                                                                         AO Plainsboro, LLC



    3.11     Youngchuk Fruit & Vegetable Corp.                                              Schedule D, line
    9        10 Schalks Crossing Road                                                       Schedule E/F, line   4.96
             Plainsboro, NJ 08536
                                                                                            Schedule G
                                                                                         First Lease Inc.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 16 of 16
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
              Case 19-24863-JKS                   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                 Desc Main
                                                       Document    Page 149 of 206


Fill in this information to identify your case:

Debtor 1                      Ki Hyung Kim

Debtor 2                      Hye Sook Ha
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Self Employed                              Self Employed
       Include part-time, seasonal, or
       self-employed work.                                         Teabaek Fruit & Vegetable
                                             Employer's name       Corp.                                      Taebaek Fruit & Vegetable Corp.
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   289 Bergen Blvd                            289 Bergen Blvd
                                                                   Fairview, NJ 07022                         Fairview, NJ 07022

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        8,666.67      $         8,666.67

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      8,666.67            $   8,666.67




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 19-24863-JKS                Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                      Desc Main
                                                 Document    Page 150 of 206

Debtor 1   Ki Hyung Kim
Debtor 2   Hye Sook Ha                                                                           Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      8,666.67       $         8,666.67

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      2,052.09       $        1,993.59
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $            0.00
     5e.    Insurance                                                                     5e.        $          0.00       $            0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $            0.00
     5g.    Union dues                                                                    5g.        $          0.00       $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,052.09       $        1,993.59
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          6,614.58       $        6,673.08
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00   $                0.00
     8g. Pension or retirement income                                                     8g.        $              0.00   $                0.00
                                               Net Monthly Income from Metro
     8h.    Other monthly income. Specify:     Sample                                     8h.+ $                    0.00 + $        1,500.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,500.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,614.58 + $       8,173.08 = $           14,787.66
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          14,787.66
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
         Case 19-24863-JKS                       Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                      Document    Page 151 of 206


Fill in this information to identify your case:

Debtor 1                 Ki Hyung Kim                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                 Hye Sook Ha                                                                           A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                        14,206.01

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           637.89
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           900.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
        Case 19-24863-JKS                      Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                              Desc Main
                                                    Document    Page 152 of 206

Debtor 1     Ki Hyung Kim
Debtor 2     Hye Sook Ha                                                                               Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 800.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 120.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 230.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 682.20
      15b. Health insurance                                                                15b. $                                               1,800.00
      15c. Vehicle insurance                                                               15c. $                                                 615.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  550.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  425.00
      17c. Other. Specify: Lease payment for Vehicle 3                                     17c. $                                                  375.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      22,741.10
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      22,741.10
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              14,787.66
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             22,741.10

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -7,953.44

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 19-24863-JKS                      Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                  Desc Main
                                                           Document    Page 153 of 206




 Fill in this information to identify your case:

 Debtor 1                    Ki Hyung Kim
                             First Name                     Middle Name             Last Name

 Debtor 2                    Hye Sook Ha
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Ki Hyung Kim                                                          X   /s/ Hye Sook Ha
              Ki Hyung Kim                                                              Hye Sook Ha
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       July 31, 2019                                                  Date    July 31, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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               Case 19-24863-JKS                      Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 154 of 206



 Fill in this information to identify your case:

 Debtor 1                  Ki Hyung Kim
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Hye Sook Ha
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there
        130 Soundview Drive                                      From-To:                       Same as Debtor 1                                  Same as Debtor 1
        Great Neck, NY 11020                                     8/2001-3/2017                                                                 From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                         Desc Main
                                                           Document    Page 155 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $95,000.00            Wages, commissions,            $137,996.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                      $166,000.00            Wages, commissions,            $177,400.00
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                      $127,000.00            Wages, commissions,              $90,600.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                        Desc Main
                                                           Document    Page 156 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       New Millennium Bank                                       4/17/19 & 5/15/19            $29,069.64         $2,056,310.3         Mortgage
       222 Bridge Plaza S.                                                                                                  8         Car
       Suite 400
                                                                                                                                      Credit Card
       Fort Lee, NJ 07024
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       E. Armata, Inc.                                           5/10/19, 5/17/19,           $188,032.20                  $0.00       Mortgage
       114 N.Y.C. Terminal Market                                5/24/19, 5/31/19,                                                    Car
       Bronx, NY 10474                                           6/7/19, 6/14/19,                                                     Credit Card
                                                                 6/21/19, 6/28/19                                                     Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Heesook Lee                                               5/8/19                       $10,000.00           $30,000.00         Mortgage
       17 Margo Way                                                                                                                   Car
       Alpine, NJ 07624                                                                                                               Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Jae Yon Ku                                                6/28/19                      $15,000.00                  $0.00       Mortgage
       2160 N. Central Road, Suite 207                                                                                                Car
       Fort Lee, NJ 07024                                                                                                             Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Realtor
                                                                                                                                    Commission

       Gun Soo Youn & Moon Youn                                  5/29/19, 6/27/19 &           $75,000.00           $61,249.10         Mortgage
       232 Anderson Avenue                                       7/1/19                                                               Car
       Closter, NJ 07624                                                                                                              Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Modern Joa Trading, Inc.                                  5/3/19, 5/10/19,               $8,000.00         $591,698.35         Mortgage
       58-58 56th Drive                                          5/17/19, 5/24/19,                                                    Car
       Maspeth, NY 11378                                         5/31/19, 6/7/19,                                                     Credit Card
                                                                 6/14/19 & 6/21/19                                                    Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 157 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Taebaek Fruit & Vegetable Corp.                           6/28/19                      $30,000.00                  $0.00
       289 Bergen Boulevard
       Fairview, NJ 07022

       Bongrae Fruit & Vegetable Inc.                            7/2/19                       $30,000.00                  $0.00
       375 Tompkins Avenue
       Staten Island, NY 10305

       Jennifer Ha                                               9/12/18, 10/3/18,              $5,900.00            Unknown        Personal loan repayment
       41 Brenner Place                                          1/31/19, 4/2/19,
       Alpine, NJ 07620                                          4/4/19 & 4/25/19

       Sukyoung Hwang                                            4/5/19                         $8,500.00                 $0.00     Personal loan repayment
       116 Doremus Avenue
       Ridgewood, NJ 07450

       Sun P. Hwang                                              8/23/18, 4/5/19,             $12,000.00                  $0.00     Employee wages
       174 Godwin Ave #R                                         4/18/19, 5/6/19,
       Ridgewood, NJ 07450                                       5/17/19, 5/21/19
                                                                 and 6/13/19

       Stephanie Kim                                             7/12/18,7/23/18,             $16,156.00                  $0.00     Employee wages
       PO Box 859                                                7/26/18, 9/28/18,
       Alpine, NJ 07620                                          10/25/18, 10/26/18,
                                                                 10/29/18, 11/29/18,
                                                                 12/6/18, 12/7/18,
                                                                 12/27/18, 12/28/18
                                                                 & 12/31/18


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Gaya Fruit & Vegetable Corp.                              8/16/18                        $2,000.00                 $0.00
       1199 Amboy Avenue
       Edison, NJ 08837

       495 Great Neck Corp.                                      1/28/19                      $10,000.00                  $0.00     Capital contribution
       495 Great Neck Road
       Great Neck, NY 11021

       Bongrae Fruit & Vegetable Corp.                           8/14/18 & 8/27/18            $10,400.00                  $0.00     Overdraft of business
       375 Tompkins Avenue                                                                                                          checking account - Bank of
       Staten Island, NY 10305                                                                                                      Hope

       Deoksung Fruit & Vegetable Corp.                          7/17/18, 1/11/19,            $24,000.00                  $0.00     Overdraft of business
       10 Schalks Crossing Road                                  5/17/19 & 6/14/19                                                  checking account - Bank of
       Plainsboro, NJ 08536                                                                                                         Hope

       Kumkang Fruit & Vegetable Corp.                           7/26/18, 8/9/18,             $33,000.00                  $0.00     Overdraft of business
       100 Kirkpatrick Street                                    8/16/18 & 9/26/18                                                  checking account - Bank of
       New Brunswick, NJ 08901                                                                                                      Hope


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                        Desc Main
                                                           Document    Page 158 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name
       Seolak Fruit & Vegetable Corp.                            7/6/18                         $5,000.00                 $0.00      Overdraft of business
       70-63 Parsons Blvd                                                                                                            checking account - Bank of
       Fresh Meadows, NY 11365                                                                                                       Hope

       Taebaek Fruit & Vegetable Corp.                           7/31/18, 3/21/19,            $30,000.00                  $0.00      Overdraft of business
       289 Bergen Boulevard                                      4/5/19, 5/17/19 &                                                   checking account - Bank of
       Fairview, NJ 07022                                        6/14/19                                                             Hope


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       E. Armata, Inc. v. BHSM Group                             Agriculture Acts           United States District Court                Pending
       LLC, et al.                                                                          Southern District of New                    On appeal
       19-cv-03929 (LGS)                                                                    York
                                                                                                                                        Concluded
                                                                                            500 Pearl Street
                                                                                            New York, NY 10007

       375 Tompkins Owner, LLC v.                                Landlord/tenant -          Civil Court of the City of                  Pending
       Bongrae Fruit & Vegetable, Inc., et                       nonpayment of              New York                                    On appeal
       a.                                                        rent                       County of Richmond
                                                                                                                                        Concluded
       050964                                                                               Non-Housing Part 52
                                                                                            927 Castleton Avenue
                                                                                            Staten Island, NY 10310


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Mercedes-Benz Financial Services                          Vehicle surrendered                                          July 2019                    Unknown
       PO Box 5029                                               2019 Mercedes-Benz S450V4
       Carol Stream, IL 60197-5209
                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       BMW Financial Services                                    Vehicle surrendered                                          July 2019                    Unknown
       PO Box 3608                                               2018 BMW x5
       Dublin, OH 43016-0306
                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                         Desc Main
                                                           Document    Page 159 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


      accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Brian Kim                                                     Cash                                                     July 2017-             $14,300.00
       PO Box 859                                                                                                             July 2019
       Alpine, NJ 07620

       Person's relationship to you: Son

       Stephanie Kim                                                 Cash                                                     2019                   $15,600.00
       PO Box 859
       Alpine, NJ 07620

       Person's relationship to you: Daughter


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                        Desc Main
                                                           Document    Page 160 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       McManimon, Scotland & Baumann,                                Attorney Fees                                            6/25/19                   $5,000.00
       LLC
       75 Livingston Avenue
       Suite 201
       Roseland, NJ 07068
       rtrenk@msbnj.com
       Taebaek Fruit & Vegetable Corp.

       McManimon, Scotland & Baumann,                                Attorney Fees                                            7/2/19 &                $36,717.00
       LLC                                                                                                                    7/18/19
       75 Livingston Avenue
       Suite 201
       Roseland, NJ 07068
       rtrenk@msbnj.com
       Bongrae Fruit & Vegetable Corp.


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 161 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                  Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       New Bank                                                  XXXX-5227                        Checking              Closed in August                   $0.00
       189 Homans Avenue                                                                          Savings
                                                                                                                        2018
       Closter, NJ 07624
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 8
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                           Desc Main
                                                           Document    Page 162 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                      Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                    Status of the
       Case Number                                                   Name                                                                             case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Kumkang Fruit & Vegetable Corp.                           Supermarket                                         EIN:       XX-XXXXXXX
       100 Kirkpatrick Street
       New Brunswick, NJ 08901                                   Seil LLP                                            From-To    9/18/2013 - present
                                                                 38 W. 32nd Street; Suite 1610                                  (non-operational)
                                                                 New York, NY 10001

       Bongrae Fruit & Vegetable Corp.                           Supermarket                                         EIN:       XX-XXXXXXX
       375 Tompkins Avenue
       Staten Island, NY 10305                                   Seil LLP                                            From-To    6/15/15 - present
                                                                 38 W. 32nd Street; Suite 1610                                  (non-operational)
                                                                 New York, NY 10001

       Bongrae Wine & Spirits Corp.                              Supermarket                                         EIN:       XX-XXXXXXX
       376 Timpkins Avenue
       Staten Island, NY 10305                                   Seil LLP                                            From-To    4/28/16 - present
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 163 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Deoksung Fruit & Vegetable Corp.                          Supermarket                                     EIN:         XX-XXXXXXX
       414 Main Street
       Belleville, NJ 07109                                      Seil LLP                                        From-To      9/12/16 - present
                                                                 38 W. 32nd Street; Suite 1610                                (non-operational)
                                                                 New York, NY 10001

       BHSM Group LLC                                            Office administrative services                  EIN:         XX-XXXXXXX
       19 Industrial Avenue
       Fairview, NJ 07022                                        Seil LLP                                        From-To      3/7/2016 - present
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Youngchuk Fruit & Vegetable Corp.                         Supermarket                                     EIN:         XX-XXXXXXX
       10 Schalks Crossing Road
       Plainsboro, NJ 08536                                      Seil LLP                                        From-To      5/10/16 - present
                                                                 38 W. 32nd Street; Suite 1610                                (non-operational)
                                                                 New York, NY 10001

       Dana 183rd St. Corp.                                      Real estate, rental and leasing                 EIN:         XX-XXXXXXX
       35 W. 183rd Street
       Bronx, NY 10453                                           Seil LLP                                        From-To      7/1988 - current (non-operational)
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       495 Great Neck Corp.                                      Real estate, rental and leasing                 EIN:         XX-XXXXXXX
       495 Great Neck Road
       Great Neck, NY 11021                                      Seil LLP                                        From-To      1/2007 - present
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Hanra Fish & Produce Corp.                                Supermarket                                     EIN:         XX-XXXXXXX
       155-15 Aguilar Avenue
       Flushing, NY 11367                                        Seil LLP                                        From-To      6/2009 - present (non operational)
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       136 Northern Boulevard, LLC                               Real estate, rental and leasing                 EIN:         XX-XXXXXXX
       136 Northern Blvd
       Great Neck, NY 11021                                      Seil LLP                                        From-To      8/2007 - current (non-operational)
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Taebaek Fruit & Vegetable Corp.                           Grocery Store                                   EIN:         XX-XXXXXXX
       d/b/a Freshway Supermarket
       289 Bergen Boulevard                                      Seil LLP                                        From-To      11/2015 - present
       Fairview, NJ 07022                                        38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Seolak Fruit & Vegtable Ltd.                              Supermarket                                     EIN:         XX-XXXXXXX
       70-63 Parsons Blvd
       Fresh Meadows, NY 11365                                   Seil LLP                                        From-To      3/2011 - 4/2018
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 10
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 164 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)


       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Jogyesean Fruit & Vegetable Inc.                          Supermarket                                     EIN:         XX-XXXXXXX
       10 South Avenue
       Garwood, NJ 07027                                         Seil LLP                                        From-To      3/2016 -4/2017
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Gaya Fruit & Vegetable Corp.                              Supermarket                                     EIN:         XX-XXXXXXX
       1185 Amboy Avenue
       Edison, NJ 08837                                          Seil LLP                                        From-To      6/2016 - 11/2017
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       J.K. Commerce Inc.                                        Wholesale-General Merchandise                   EIN:         XX-XXXXXXX
       65 Railroad Avenue, Suite 201
       Ridgefield, NJ 07657                                      Seil LLP                                        From-To      3/2018 - current (non-operational)
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Haein Closter Corp.                                       Real Estate Renting                             EIN:         XX-XXXXXXX
       65 Railroad Avenue, Suite 201
       Ridgefield, NJ 07657                                      Seil LLP                                        From-To      9/2016 - current
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001

       Metro Supermarket Brokerage Inc.                          Brokerage                                       EIN:         XX-XXXXXXX
       65 Railroad Avenue, Suite 201
       Ridgefield, NJ 07657                                      Seil LLP                                        From-To      8/2002 - current (non-operational)
                                                                 38 W. 32nd Street; Suite 1610
                                                                 New York, NY 10001


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                  Desc Main
                                                           Document    Page 165 of 206
 Debtor 1      Ki Hyung Kim
 Debtor 2      Hye Sook Ha                                                                                 Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Ki Hyung Kim                                                        /s/ Hye Sook Ha
 Ki Hyung Kim                                                            Hye Sook Ha
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     July 31, 2019                                                  Date     July 31, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 12
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                               Desc Main
                                                           Document    Page 166 of 206


 Fill in this information to identify your case:

 Debtor 1            Ki Hyung Kim

 Debtor 2           Hye Sook Ha
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey

 Case number                                                                                        Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                        12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                Column A                Column B
                                                                                                Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                   15,333.33       $      21,433.33
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                     $              0.00     $                0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                      0.00     $                0.00
  5. Net income from operating a
     business, profession, or farm                Debtor 1               Debtor 2
       Gross receipts (before all deductions)                            $    0.00
       Ordinary and necessary operating expenses                        -$    0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $              0.00     $                0.00
  6. Net income from rental and
     other real property                          Debtor 1               Debtor 2
       Gross receipts (before all deductions)                            $    0.00
       Ordinary and necessary operating expenses                        -$    0.00
       Net monthly income from rental or other real property            $     0.00 Copy here -> $              0.00     $                0.00




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                           page 1
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             Case 19-24863-JKS                        Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                                       Desc Main
                                                           Document    Page 167 of 206
 Debtor 1     Ki Hyung Kim
 Debtor 2     Hye Sook Ha                                                                            Case number (if known)


                                                                                                 Column A                       Column B
                                                                                                 Debtor 1                       Debtor 2

                                                                                                 $                  0.00        $           0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00        $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                      $                  0.00        $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                 $                              $
                                                                                                 $                  0.00        $           0.00
                  Total amounts from separate pages, if any.                                 +   $                  0.00        $           0.00

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $    15,333.33           +   $       21,433.33    =   $   36,766.66




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                               page 2
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                               Desc Main
                                                           Document    Page 168 of 206
 Debtor 1    Ki Hyung Kim
 Debtor 2    Hye Sook Ha                                                                          Case number (if known)




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Ki Hyung Kim                                                      X /s/ Hye Sook Ha
                Ki Hyung Kim                                                           Hye Sook Ha
                Signature of Debtor 1                                                  Signature of Debtor 2

        Date July 31, 2019                                                        Date July 31, 2019
             MM / DD / YYYY                                                            MM / DD / YYYY




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                          page 3
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                      Desc Main
                                                           Document    Page 169 of 206
 Debtor 1    Ki Hyung Kim
 Debtor 2    Hye Sook Ha                                                                         Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2019 to 06/30/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Bongrae Fruit & Vegetable Cor
Constant income of $9,000.00 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Kumkang Fruit & Vegetable Cor
Constant income of $5,333.33 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Teabaek Fruit & Vegetable Cor
Constant income of $1,000.00 per month.*




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                           page 4
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                      Desc Main
                                                           Document    Page 170 of 206
 Debtor 1    Ki Hyung Kim
 Debtor 2    Hye Sook Ha                                                                         Case number (if known)


                                           Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 01/01/2019 to 06/30/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : BHSM Group LLC
Constant income of $3,000.00 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : BHSM Group LLC
Constant income of $2,000.00 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Deoksung Fruit & Vegetable Co
Constant income of $5,333.33 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Metro Sample and Fitting Corp
Constant income of $2,100.00 per month.*



Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Employer : Taebaek Fruit & Vegetable Cor
Constant income of $9,000.00 per month.*




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                           page 5
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                         Desc Main
                                                           Document    Page 171 of 206
 Debtor 1    Ki Hyung Kim
 Debtor 2    Hye Sook Ha                                                                         Case number (if known)


*Paycheck Details:

Teabaek Fruit & Vegetable Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                       2019-06-26                       6,000.00                 0.00              514.50                  0.00          5,485.50


            Totals:                                     6,000.00                 0.00              514.50                  0.00          5,485.50

Kumkang Fruit & Vegetable Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      2,000.00                 0.00              322.73                  0.00          1,677.27

                         Salary X5                      4,000.00                 0.00              764.04                  0.00          3,235.96


            Totals:                                     6,000.00                 0.00            1,086.77                  0.00          4,913.23

Bongrae Fruit & Vegetable Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      3,000.00                 0.00              516.52                  0.00          2,483.48

                         Salary X6                      6,000.00                 0.00            1,345.42                  0.00          4,654.58


            Totals:                                     9,000.00                 0.00            1,861.94                  0.00          7,138.06

Deoksung Fruit & Vegetable Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      2,000.00                 0.00              322.73                  0.00          1,677.27

                         Salary X4                      4,000.00                 0.00              764.04                  0.00          3,235.96

                       2019-06-12                       4,000.00                 0.00              753.24                  0.00          3,246.76


            Totals:                                   10,000.00                  0.00            1,840.01                  0.00          8,159.99

BHSM Group LLC

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      3,000.00                 0.00              661.15                  0.00          2,338.85


            Totals:                                     3,000.00                 0.00              661.15                  0.00          2,338.85

Taebaek Fruit & Vegetable Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      3,000.00                 0.00              525.99                  0.00          2,474.01

                         Salary X3                      6,000.00                 0.00            1,330.04                  0.00          4,669.96


Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                              page 6
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                         Desc Main
                                                           Document    Page 172 of 206
 Debtor 1    Ki Hyung Kim
 Debtor 2    Hye Sook Ha                                                                         Case number (if known)


                         Salary X2                      6,000.00                 0.00            1,370.54                  0.00          4,629.46

                       2019-05-01                       6,000.00                 0.00            1,359.68                  0.00          4,640.32


            Totals:                                   21,000.00                  0.00            4,586.25                  0.00        16,413.75

Metro Sample and Fitting Corp.

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      2,100.00                 0.00              600.00                  0.00          1,500.00


            Totals:                                     2,100.00                 0.00              600.00                  0.00          1,500.00

BHSM Group LLC

            Date                                        Earnings            Overtime                 Taxes                Other        NetCheck
                         Salary X6                      2,000.00                 0.00              395.85                  0.00          1,604.15


            Totals:                                     2,000.00                 0.00              395.85                  0.00          1,604.15




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                              page 7
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                       Desc Main
                                                           Document    Page 173 of 206

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                           Desc Main
                                                           Document    Page 174 of 206


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                          Desc Main
                                                           Document    Page 175 of 206
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                          Desc Main
                                                           Document    Page 176 of 206
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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             Case 19-24863-JKS                        Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06                              Desc Main
                                                           Document    Page 177 of 206
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of New Jersey
             Ki Hyung Kim
 In re       Hye Sook Ha                                                                                        Case No.
                                                                                    Debtor(s)                   Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $     Fees & expenses allowed by the
                                                                                                                               Bankruptcy Court
             Prior to the filing of this statement I have received                                          $          $40,000 retainer plus $1,717
                                                                                                                                        filing fee***
             Balance Due                                                                                    $     Fees & expenses allowed by the
                                                                                                                               Bankruptcy Court

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):           Taebaek Fruit & Vegetable Corp. & Bongrae Fruit & Vegetable Corp.

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 General representation of the Debtors in their Chapter 11 case as set forth in the Application for Retention of
                 McManimon, Scotland & Baumann LLC, as counsel to the Debtors.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 31, 2019                                                                  /s/ Richard D. Trenk
     Date                                                                           Richard D. Trenk
                                                                                    Signature of Attorney
                                                                                    McManimon, Scotland & Baumann, LLC
                                                                                    75 Livingston Avenue
                                                                                    Suite 201
                                                                                    Roseland, NJ 07068
                                                                                    973-622-1800 Fax: 973-622-7333
                                                                                    rtrenk@msbnj.com
                                                                                    Name of law firm

*** Prior to the Petition Date, McManimon, Scotland & Baumann LLC ("MSB"), received and deposited in trust the sum of
$41,171.00, representing the retainer plus filing fees. MSB applied $16,551.40 in payment of invoices for fees and the filing
fees incurred prior to the Petition Date. MSB maintains a retainer of $25,165.60.




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            Case 19-24863-JKS                         Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06             Desc Main
                                                           Document    Page 178 of 206




                                                               United States Bankruptcy Court
                                                                     District of New Jersey
            Ki Hyung Kim
 In re      Hye Sook Ha                                                                         Case No.
                                                                                Debtor(s)       Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: July 31, 2019                                                 /s/ Ki Hyung Kim
                                                                     Ki Hyung Kim
                                                                     Signature of Debtor

 Date: July 31, 2019                                                 /s/ Hye Sook Ha
                                                                     Hye Sook Ha
                                                                     Signature of Debtor




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    Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                             Document    Page 179 of 206


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M
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                        375 Tompkins Owner, LLC
                        c/o Howard M. File, Esq.
                        260 Christopher Lane, Suite 102
                        Staten Island, NY 10314


                        375 Tompkins Owner, LLC
                        900 Route 9 North
                        Suite 400
                        Woodbridge, NJ 07095


                        4 Season Produce
                        PO Box 202
                        Little Ferry, NJ 07643


                        458½ South Broadway Meat
                        458½ South Broadway
                        Yonkers, NY 10705


                        88 Trading Corp.
                        58-29 48th Street
                        Maspeth, NY 11378


                        A&J Farms
                        42 Hemlock Drive
                        Paramus, NJ 07652


                        A. Sarselli Inc.
                        211 Nelson Ave.
                        Staten Island, NY 10308


                        AAA Housewares Inc.
                        1400 Langdon Blvd
                        Rockville Centre, NY 11570


                        Abarrotes Mixteca
                        216A Midland Avenue
                        Saddle Brook, NJ 07663


                        Abraham Natural Foods
                        3020 Review Ave.
                        Long Island City, NY 11101


                        Adelphia Container
                        125 Division Place
                        Brooklyn, NY 11222
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 180 of 206



                    Advanced Energy Capital LLC
                    1 Metrotech Center N, 3rd Floor
                    Brooklyn, NY 11201


                    Aiello Bros. Cheese Co., Inc.
                    8782 16th Ave.
                    Brooklyn, NY 11214


                    Aladdin Bakers Inc.
                    240 25th St.
                    Brooklyn, NY 11232


                    Albert Olive Oil USA
                    One Gateway Center, Ste. 2600
                    Newark, NJ 07102


                    Aliments
                    60 Cold Spring Hills Road
                    Huntington, NY 11743


                    Allcounty Recycling, Inc.
                    c/o Felsenfeld & Clopton PC
                    1 Nami Lane Suite 5
                    Trenton, NJ 08619


                    American Banana
                    58 Henry Street
                    Hasbrouck Heights, NJ 07604


                    AMUR Equipment Finance
                    PO Box 2555
                    308 N. Locust Street, Suite 100
                    Grand Island, NE 68801


                    Anhesuer-Busch Distributor
                    550 Food Center Drive
                    Bronx, NY 10474


                    AO Plainsboro, LLC
                    c/o Onyx Equites
                    900 Route 9 North, Suite 400
                    Woodbridge, NJ 07095
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 181 of 206



                    ARS Premier Food
                    PO Box 1554
                    Burlington, NJ 08016


                    Associated Produce
                    30 Casanova Street
                    Bronx, NY 10474


                    Axis Capital
                    308 N. Locust Street
                    Grand Island, NE 68801


                    AZ Cleaning Pro
                    PO Box 1419
                    Morrisville, PA 19067


                    AZ Metro Distributors LLC
                    60 Crossways Park Drive W
                    Woodbury, NY 11797


                    Bakery Espiga De Oro, Inc.
                    52-54 Oraton Street
                    Newark, NJ 07104


                    Bank of America
                    PO Box 15019
                    Wilmington, DE 19886-5019


                    Bank of Hope
                    3200 Wilshire Blvd, Suite 1400
                    Los Angeles, CA 90010


                    BCS Royal Food
                    47-15 33rd Street, Suite 300
                    Long Island City, NY 11101


                    Bedesee Caribbean Food Specialist
                    601 Wortman Avenue
                    Brooklyn, NY 11208


                    Bevcon Group
                    47-15 33rd Street, Ste. 300
                    Long Island City, NY 11103
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 182 of 206



                    BHSM Group LLC
                    19 Industrial Avenue
                    Fairview, NJ 07022


                    Bimbo Bakeries USA, Inc.
                    PO Box 827810
                    Philadelphia, PA 19182-8170


                    Bindi North America
                    630 Belleville Turnpike
                    Kearny, NJ 07032


                    BMW Financial Services
                    PO Box 3608
                    Dublin, OH 43016-0306


                    Bongrae Fruit & Vegetable Corp.
                    375 Tompkins Avenue
                    Staten Island, NY 10305


                    Brooklyn Bread
                    1559 62nd St.
                    Brooklyn, NY 11219


                    Brooklyn Food & Beverage
                    465 Johnson Ave.
                    Brooklyn, NY 11237


                    Cafe Aroma
                    500 16th St.
                    Hoboken, NJ 07030


                    Canada Dry Bottling
                    PO Box 741078
                    Atlanta, GA 30374-1078


                    Canada Dry Bottling Co. New York, Inc.
                    117-02 15th Avenue
                    College Point, NY 11356


                    Capital One Bank USA
                    15000 Capital One Drive
                    Richmond, VA 23238
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 183 of 206



                    Caribbean Depot
                    68 Brooklyn Terminal Market
                    Brooklyn, NY 11236


                    Caruso, Smith & Picini
                    60 Route 46 East
                    Fairfield, NJ 07004


                    Casa Ofelia's Fine Baked Goods
                    1294 Grand Ave.
                    Baldwin, NY 11510


                    CBA Industries Inc.
                    669 River Drive
                    PO Box 1717
                    Elmwood Park, NJ 07407-1717


                    CGS General Distribution
                    245 Hinsdale St., 1st Fl.
                    Brooklyn, NY 11207


                    Chase Ink
                    PO Box 1423
                    Charlotte, NC 28201-1423


                    Choice Onion Farm, Inc.
                    84-10 34th Ave, #4H
                    Jackson Heights, NY 11372


                    Chrysler Capital
                    PO Box 961275
                    Fort Worth, TX 76161


                    Cielito Lindo Bakery
                    265 Asylum St., Unit #1
                    Bridgeport, CT 06610


                    Cintas Corporation
                    PO Box 630803
                    Cincinnati, OH 45263-0803


                    Cirka Products LLC
                    470 Schooleys Mt Road
                    Suite 707
                    Hackettstown, NJ 07840
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 184 of 206



                    Citicards CBNA
                    PO Box 70166
                    Philadelphia, PA 19176-0166


                    Cold Technology
                    1001 Lower Landing Road, Ste. 203
                    Blackwood, NJ 08012


                    Continental Food & Beverage Inc.
                    495 River Road
                    Clifton, NJ 07014


                    Cordialsa USA
                    2 S. Middlesex Ave, Suite A
                    Monroe Township, NJ 08831


                    Coutros Brothers
                    344 Elm Street
                    PO Box 550
                    Perth Amboy, NJ 08861


                    Cream-o-land
                    529 Cedar Lane
                    PO Box 143
                    Florence, NJ 08518


                    Cuttiee Product
                    14 Industrial Ave.
                    Fairview, NJ 07022


                    Daifuku Trading Corp.
                    360 S. Van Brunt St.
                    Englewood, NJ 07631


                    Dana 183 St. Corp.
                    35 West 183rd Street
                    Bronx, NY 10453


                    De Lage Landen Financial Services Inc.
                    1111 Old Eagle School Road
                    Wayne, PA 19087


                    Delice Global
                    150 Roosevelt Pl.
                    Palisades Park, NJ 07650
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 185 of 206



                    Deoksung Fruit & Vegetable Corp.
                    414 Main Street
                    Belleville, NJ 07109


                    Diamond Rock Food
                    1199 Sunrise Hwy., Ste. 2-3
                    Copiague, NY 11726


                    Diaz Foods
                    4 Rosol Lane
                    Saddle Brook, NJ 07663


                    Diaz Foods
                    5501 Fulton Industrial Boulevard
                    Atlanta, GA 30336


                    Distribuidora Jocorena
                    199A Brook Ave.
                    Deer Park, NY 11729


                    Division of Taxation
                    124 Halsey Street
                    Second Floor
                    Newark, NJ 07102


                    Don Martin
                    86 First Street
                    Passaic, NJ 07055


                    Dona Lisa
                    41 Mercedes Way, Unit 14
                    Edgewood, NY 11717


                    Dr. Produce
                    262 Buffalo Avenue
                    Paterson, NJ 07503


                    Drink King Dist.
                    120 Fieldcrest Ave.
                    Edison, NJ 08837


                    E&M Ice Cream
                    701 Zerega Avenue
                    Bronx, NY 10473
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 186 of 206



                    E. Armata, Inc.
                    114 N.Y.C. Terminal Market
                    Bronx, NY 10474


                    E. Armata, Inc.
                    c/o Gregory Adam Brown, Esq.
                    McCarron & Diess
                    707 Walt Whitman Road, Second Floor
                    Melville, NY 11747


                    East Coast Egg
                    2500 83rd Street
                    North Bergen, NJ 07047


                    Eco Farms Organics
                    2037 Lemoine Ave., #181
                    Fort Lee, NJ 07024


                    Ecuavina Inc. (Pan de Casa)
                    PO Box 5246
                    Plainfield, NJ 07060


                    Edward J. LoBello
                    Meyer, Suozzi, English & Klein, PC
                    900 Stewart Avenue, Suite 300
                    PO Box 9194
                    Garden City, NY 11530-9194


                    Ehrlich
                    PO Box 13848
                    Reading, PA 19612-3848


                    Eldorado Coffee Ltd.
                    56-75 79th St.
                    Maspeth, NY 11378


                    Elite Cookies Inc.
                    2221 5th Ave.
                    Ronkonkoma, NY 11779


                    Ercomar Imports
                    619 North 8th St.
                    Newark, NJ 07107
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 187 of 206



                    Evergreen NJ Flower
                    230 Cliff St.
                    Cliffside Park, NJ 07010


                    FABI-SAA Inc.
                    36 Mckinley Avenue
                    East Hanover, NJ 07936


                    Family Food
                    969 Newark Turnpike Unit D
                    Kearny, NJ 07032


                    Family Food Distributors, Inc.
                    969 Newark Turnpike
                    Unit D
                    Kearny, NJ 07032


                    Fedway Wine & Spirit
                    PO Box 651
                    Basking Ridge, NJ 07920-0651


                    Fernando's Bakery
                    5 Sherman Street
                    Linden, NJ 07036


                    Finest Foods Distributing Co. New York
                    87-21 76th Street
                    Woodhaven, NY 11421


                    Fire Guard Sprinkler
                    1A Mount Vernon Street
                    Ridgefield Park, NJ 07660


                    First Lease Inc.
                    1 Walnut Grove Drive, Suite 300
                    Horsham, PA 19044


                    Firto Lay
                    75 Remittance Drive, Suite 1217
                    Chicago, IL 60675-1217


                    Flowers Baking Company of Oxford, Inc.
                    700 Lincoln Street
                    Oxford, PA 19363
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 188 of 206



                    Flowers by J&S Corp.
                    33 Ludwig Street
                    Little Ferry, NJ 07643


                    Four Seasons Produce
                    PO Box 62212
                    Baltimore, MD 21264-2212


                    Franklin Perez
                    42-14 5th Avenue, Apt 3R
                    Brooklyn, NY 11232


                    Frozen Foods Partners LLC
                    PO Box 440244
                    Nashville, TN 37244-0244


                    Gallo Wine Sales
                    PO Box 36446
                    Newark, NJ 07188-6446


                    Gator Garwood Partners, Ltd.
                    1595 NE 163rd Street
                    Miami, FL 33162


                    Gaya Fruit & Vegetable Corp.
                    1199 Amboy Avenue
                    Edison, NJ 08837


                    General Trading
                    455 16th Street
                    Carlstadt, NJ 07072


                    Gold Medal Bakery
                    21 Penn Street
                    Fall River, MA 02724


                    Gourmet Bakery Dist.
                    PO Box 418770
                    Boston, MA 02241-8770


                    Goya Foods
                    350 County Road
                    Jersey City, NJ 07307
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 189 of 206



                    Grace Apiries
                    247 Park St.
                    Arcade, NY 14009


                    Grace Kennedy Foods (USA)
                    d/b/a La Fe
                    230 Moonachie Avenue
                    Moonachie, NJ 07074


                    Grand Labs Manufacturing Co.
                    1345 Seneca Avenue
                    Bronx, NY 10474


                    Grassland Foods & Snack
                    PO Box 279
                    Orange, NJ 07050


                    Green JS Produce
                    PO Box 650538
                    Fresh Meadows, NY 11365


                    Greenville Produce LLC
                    150 Wesley Street
                    South Hackensack, NJ 07606


                    Gregory Brown, Esq.
                    McCarron & Diess
                    707 Walt Whitman Road
                    Melville, NY 11747


                    Grocery Leasing Corp., as Agent for
                    General Trading Co., Inc.
                    455 16th Street
                    Carlstadt, NJ 07072


                    Gun Soo Youn
                    232 Anderson Avenue
                    Closter, NJ 07624


                    Hajjar Gourmet Foods
                    15 Whiteweld Terrace
                    Clifton, NJ 07013
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 190 of 206



                    Hanra Fish & Produce Corp.
                    155-15 Aguilar Avenue
                    Flushing, NY 11367


                    Harfenist Kraut & Perlstein, LLP
                    Attn: Allen Perlstein
                    3000 Marcus Avenue
                    New Hyde Park, NY 11042


                    Heesook Lee
                    17 Margo Way
                    Alpine, NJ 07624


                    Hershey Creamery
                    240 Evans Way
                    Branchburg, NJ 08876-3936


                    Hillcrest Garden, Inc.
                    96 West Century Road
                    Paramus, NJ 07652-1428


                    Honda Financial Services
                    2080 Cabot Blvd W.
                    Langhorne, PA 19047


                    Hyeongno Lee
                    38 W. 32nd Street, Suite 1610
                    New York, NY 10001


                    Hyunho Lee
                    300 Chubb Avenue
                    Lyndhurst, NJ 07071


                    I and U LLC
                    66 Mattatuck Heights
                    Waterbury, CT 06705


                    Il Yeon Kwon
                    300 Chubb Avenue
                    Lyndhurst, NJ 07071


                    India Beverage Inc.
                    1401 Viele Avenue
                    Bronx, NY 10474
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 191 of 206



                    Internal Revenue Service
                    Special Procedures Branch
                    Attn: Bankruptcy Section
                    Springfield, NJ 07081-0744


                    Internal Revenue Service
                    Attn: District Director
                    955 South Springfield Avenue
                    Springfield, NJ 07081


                    Internal Revenue Service
                    Office of the Chief Counsel
                    One Newark Center, Suite 1500
                    Newark, NJ 07102


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    J&J Farms Creamery
                    57-48 49th Street
                    Maspeth, NY 11378


                    J&R Cutlery
                    1275 Bloomfield Ave.
                    Bldg. 9, Unit 80
                    Fairfield, NJ 07004


                    Jennifer Ha
                    41 Brenner Place
                    Alpine, NJ 07620


                    JGM Wholesale Bakery
                    26 Elm Pl
                    Amityville, NY 11701


                    Jogyesean Fruit & Vegetable Inc.
                    10 South Avenue
                    Garwood, NJ 07027


                    JPMorgan Chase Sapphire Card
                    PO Box 1423
                    Charlotte, NC 28201-1423
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 192 of 206



                    JT Supreme Distributors
                    70-36 137th Street
                    Flushing, NY 11367


                    K&F
                    308 East Ruby Ave., Unit A
                    Palisades Park, NJ 07650


                    Katzman Produce
                    213B New York City Terminal Market
                    Bronx, NY 10474


                    Keep Healthy
                    1019 Fort Salonga Road
                    Northport, NY 11768


                    Kellermeyer Bergensons Services
                    1575 Henthorne Drive
                    Maumee, OH 43537


                    Kohler
                    150 Wagaraw Road
                    PO Box 643
                    Hawthorne, NJ 07507


                    Krasi Invest Holding Sedika Foods
                    4201 Kennedy Road
                    South Plainfield, NJ 07080


                    Krinos Foods LLC
                    1750 Bathgate Ave.
                    Bronx, NY 10457


                    Kumkang Fruit & Vegetable Corp.
                    100 Kirkpatrick Street
                    New Brunswick, NJ 08901


                    Kumkang Fruit & Vegetable Inc.
                    100 Kirkpatrick Street
                    New Brunswick, NJ 08901


                    L & R Distributors, Inc.
                    26800 Network Place
                    Chicago, IL 60673
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 193 of 206



                    L&A Pork
                    945 Lincoln Street
                    Hazleton, PA 18201


                    La Centroamericana
                    2280 Union Blvd.
                    Bay Shore, NY 11706


                    Lab Imports
                    PO Box 250842
                    New York, NY 10025


                    Larry M. Cole, Esq.
                    105 Eisenhower Parkway, Suite 401
                    Roseland, NJ 07068


                    Latin American Dist., Inc.
                    307 Industrial Way West
                    Eatontown, NJ 07724


                    Latinfood US Corp.
                    80 Keyland Ct., Unit B
                    Bohemia, NY 11716


                    Latino Food Distributors
                    90 Avocado St.
                    Springfield, MA 01104


                    Latitude Beverage Co.
                    PO Box 843045
                    Boston, MA 02284-3045


                    Liberty Coca-Cola
                    PO Box 780810
                    Philadelphia, PA 19170


                    Lily Produce
                    435-A NYC Terminal Market
                    Bronx, NY 10474


                    Lily Produce Inc.
                    25 John Bean Court
                    Port Washington, NY 11050
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 194 of 206



                    Loan Builder
                    c/o Swift Financial, LLC
                    3505 Sliverside Road
                    Wilmington, DE 19810


                    Lorraine Kim
                    PO Box 859
                    Alpine, NJ 07620


                    Los Olivos
                    105 Bi County Blvd
                    Farmingdale, NY 11735


                    Lucky Home
                    852 Holmdel Road
                    Holmdel, NJ 07733


                    Magic World of Roses
                    173 Spruce St.
                    Bloomfield, NJ 07003


                    Mamita's Food
                    500 Getty Ave.
                    Clifton, NJ 07011


                    Mamita's Ices
                    104-11 100th Street
                    Ozone Park, NY 11417


                    Mamtakim
                    PO Box 30720
                    Staten Island, NY 10303


                    Mana's Bakery
                    2 Hawthorne St.
                    Farmingdale, NY 11735


                    Marlow Candy & Nut Company
                    65 Honeck St.
                    Englewood, NJ 07631


                    Master Dairies Inc.
                    716 Hickory Hill Road
                    Wyckoff, NJ 07481
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 195 of 206



                    Max Distributor 1 Corp.
                    1980 New Highway
                    Farmingdale, NY 11735


                    McKee Foods
                    PO Box 2118
                    Collegedale, TN 37315-2118


                    Mercedes-Benz Financial
                    PO Box 5029
                    Carol Stream, IL 60197-5209


                    MGA Flower
                    110 Buck Road
                    Holland, PA 18966


                    MI Pueblo Corp.
                    32-49 Fulton St.
                    Brooklyn, NY 11208


                    Mission Foods
                    PO Box 843789
                    Dallas, TX 75284-3789


                    Modern Joa Trading, Inc.
                    58-58 56th Drive
                    Maspeth, NY 11378


                    Mondelez Global
                    PO Box 70064
                    Chicago, IL 60673


                    Mr. Sunflower
                    429 Brinkerhoff Ave.
                    Palisades Park, NJ 07650


                    Musco Food Corp.
                    57-01 49th Place
                    Maspeth, NY 11378-2020


                    NAC Foods
                    235-239 Commercial Avenue
                    Palisades Park, NJ 07650
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 196 of 206



                    Nathan Chun, Esq.
                    300 Chubb Avenue
                    Lyndhurst, NJ 07071


                    National Packing Corp.
                    538 Craven St.
                    Bronx, NY 10474


                    Natural Foods
                    64-31 108th Street, Suite 1070
                    Forest Hills, NY 11375


                    Nature Garden
                    35-02 150 Place Apt #B
                    Flushing, NY 11354


                    Nature Soy LLC
                    713 N. 10th St.
                    Philadelphia, PA 19123


                    Nebraskland
                    355 Food Center Dr.
                    Buidling G
                    Bronx, NY 10475


                    Nema
                    408 E. Elizabeth Ave.
                    Linden, NJ 07036


                    New Bank
                    189 Homans Avenue
                    Closter, NJ 07624


                    New Brunswick Parking Authority
                    c/o Ruben D. Perez, Esq.
                    555 US Highway 1 South, Suite 440
                    Iselin, NJ 08830


                    New England Beverages
                    1801 Boone Ave.
                    Bronx, NY 10460
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 197 of 206



                    New Jersey Division of Taxation
                    Bankruptcy Section
                    PO Box 245
                    Trenton, NJ 08695-0245


                    New Jersey Grinding
                    1275 Bloomfield Ave.
                    Bldg. 9, Ste. 80
                    Fairfield, NJ 07004


                    New Millennium Bank
                    222 Bridge Plaza S.
                    Suite 400
                    Fort Lee, NJ 07024


                    New York Produce
                    125 Seaview Drive
                    Secaucus, NJ 07094


                    Nissan Motor Acceptance
                    PO Box 660360
                    Dallas, TX 75266


                    Northern Eagle Beverage
                    600 16th Street
                    Carlstadt, NJ 07072


                    NU, Inc.
                    610 Commerical Avenue
                    Carlstadt, NJ 07072


                    NY Fancy Natural Foods Inc.
                    154 Morgan Avenue
                    Brooklyn, NY 11237


                    Oaxaca Mexican
                    100 8th Street
                    Passaic, NJ 07055


                    Office of the Attorney General
                    Division of Law
                    PO Box 080
                    Trenton, NJ 08625-0080
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 198 of 206



                    Office of the Attorney General
                    Richard J. Hughes Justice Complex
                    25 Market Street
                    PO Box 112
                    Trenton, NJ 08625-0112


                    On time distribution
                    85 5th Avenue, Unit 30
                    Paterson, NJ 07524


                    Oster Belleville Properties LLC
                    c/o Oster Properties
                    429 Sylvan Avenue
                    Englewood Cliffs, NJ 07032


                    PA China Farm, Inc.
                    3670 S. Galloway Street
                    Philadelphia, PA 19148


                    Palenque Provision
                    56 Loretta Street
                    Hopelawn, NJ 08861


                    Paloma Foods, LLC
                    PO Box 62
                    Ridgefield, NJ 07657


                    Pan on the Way, LLC
                    7-9 Poplar Street
                    Passaic, NJ 07055


                    Paraco Gas Corporation
                    4700 S. Clinton Ave.
                    South Plainfield, NJ 07080


                    Parks Exterminator USA
                    40-04 165 Street, 3F
                    Flushing, NY 11358


                    Paterson Pickle
                    285 4th Ave.
                    Paterson, NJ 07514
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 199 of 206



                    PBC Pepsi Beverages Company
                    75 Remittance Drive, Suite 1884
                    Chicago, IL 60675-1884


                    Perez Distribution
                    25 Shady Street
                    Paterson, NJ 07524


                    Peru Food
                    PO Box 419
                    West New York, NJ 07093


                    Phil-Am Trading
                    324-330 Hoboken Avenue
                    Jersey City, NJ 07306


                    Philip Hwang
                    174 Godwin Ave #R
                    Ridgewood, NJ 07450


                    Porky Products Inc.
                    PO Box 18057
                    Newark, NJ 07191


                    Premier Bakeries
                    725 River Road, ste. 32-288
                    Edgewater, NJ 07020


                    Primos Bakery
                    47-20 Junction Blvd
                    Corona, NY 11368


                    Procacci Bros. (GS DIstribution)
                    3333 S. Front Street
                    Philadelphia, PA 19148


                    Puebla Wholesale
                    118 First Street
                    Passaic, NJ 07055


                    Quality Plus Provision (Boar's Head)
                    PO Box 799
                    Englishtown, NJ 07726
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 200 of 206



                    RC World Services Enterprises
                    6904 Grand Ave.
                    North Bergen, NJ 07047


                    Ready Refresh
                    PO Box 856192
                    Louisville, KY 40285


                    Real Kosher Ice Cream Inc.
                    3614 15th Ave.
                    Brooklyn, NY 11218


                    Reyes Produce
                    540 Faile St.
                    Bronx, NY 10475


                    Richard Klein
                    RHK Recovery Group
                    1670 Old Country Road, Suite 202
                    Plainview, NY 11803


                    Rio Grande Food Products, Inc.
                    150 Oser Ave.
                    PO Box 13221
                    Hauppauge, NY 11788


                    RNL Foods
                    495 River Road
                    Clifton, NJ 07014


                    Robert Bruce Healthcare LLC
                    17 Industrial Avenue
                    Fairview, NJ 07022


                    Rol-Rom Foods
                    33 6th Avenue
                    Paterson, NJ 07524


                    Rosemarie Bakery
                    96 Vreeland St.
                    Staten Island, NY 10302


                    Rua USA
                    47-00 Northern Blvd.
                    Long Island City, NY 11101
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 201 of 206



                    Russ Monico Provision (Thumman)
                    6214 Jefferson Street
                    West New York, NJ 07093


                    RYECO, LLC
                    6700 Essington Avenue, Units C3-C7
                    Philadelphia, PA 19153


                    Sabanero NY
                    19-34 38th St.
                    Astoria, NY 11105


                    Safeguard Chemical Corporation
                    411 Wales Ave.
                    Bronx, NY 10454


                    Salud Natural
                    200 Passaic Street
                    Hackensack, NJ 07601


                    Santos Bakery
                    123 Hudson Street
                    Newark, NJ 07103


                    Schueler Dist.
                    16 Morristown Road
                    Elizabeth, NJ 07208


                    Seabrite Corp.
                    574 Ferry St.
                    Newark, NJ 07105


                    Seolak Fruit & Vegetable Ltd
                    70-63 Parsons Blvd
                    Fresh Meadows, NY 11365


                    Simone International Liquor
                    186 Parish Drive
                    Wayne, NJ 07470


                    Smart Foods
                    72 Wabash Ave.
                    Clifton, NJ 07011
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 202 of 206



                    Spicy Flavor
                    PO Box 757
                    Oxon Hill, MD 20750


                    Starr Gern Davison & Rubin, PC
                    105 Eisenhower Parkway
                    Roseland, NJ 07068


                    State of New Jersey
                    Division of Taxation
                    Sales & Use Tax
                    PO Box 999
                    Trenton, NJ 08625


                    State of New Jersey
                    Divison of Taxation - Gross Income Tax
                    50 Barrack Street
                    PO Box 269
                    Trenton, NJ 08625


                    State of New Jersey
                    Division of Employer Accounts
                    PO Box 379
                    Trenton, NJ 08625


                    Staten Island Grinding Service, Inc.
                    507 Midland Ave.
                    Staten Island, NY 10306


                    Sun Hing Foods
                    271 Harbor Way
                    South San Francisco, CA 94080


                    Sun W. Young
                    38 West 32nd Street, Suite 900A
                    New York, NY 10001


                    Super Bread II
                    443 Schiller Street
                    Elizabeth, NJ 07206


                    Sweet Rainbow Candy & Nuts
                    226 South 12th Avenue
                    Mount Vernon, NY 10550
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 203 of 206



                    Taebaek Fruit & Vegetable Corp.
                    289 Bergen Boulevard
                    Fairview, NJ 07022


                    Tano Shopping Center Limited
                    100 Woodbridge Center Drive, Suite 301
                    PO Box 29
                    Woodbridge, NJ 07095


                    Tastle USA Inc.
                    PO Box 140252
                    Brooklyn, NY 11214


                    Tavarez Distributors
                    PO Box 140252
                    Brooklyn, NY 11214


                    Taystee Treat
                    1 Roselle Street
                    Linden, NJ 07036


                    Teixeira's Bakery
                    PO Box 5550
                    Newark, NJ 07105


                    The Food Squad Distributors
                    1550 5th Avenue
                    Bay Shore, NY 11706


                    Top Family Candy Inc.
                    50-09 Horatio Parkway
                    Bayside, NY 11364


                    Top General Merchandise (TGM)
                    728 Berriman St.
                    Brooklyn, NY 11208


                    Top System Alarm Inc.
                    47-25 Parsons Blvd.
                    Flushing, NY 11355


                    Topal Foods
                    6025 Buchanan Pl.
                    West New York, NJ 07093
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 204 of 206



                    Toufayan Bakeries
                    175 Railroad Avenue
                    Ridgefield, NJ 07567


                    Toyota Motor Credit
                    PO Box 4102
                    Carol Stream, IL 60197-4102


                    Triangle Quality Foods LLC
                    2306 51st Place
                    Hyattsville, MD 20781


                    Triunfo Foods
                    574 Ferry Street
                    Newark, NJ 07105


                    Tropical Cheese Industies, Inc.
                    450 Fayette Street
                    PO Box 1357
                    Perth Amboy, NJ 08862-1357


                    Turkana Food, Inc.
                    555 N. Michigan Avenue
                    Kenilworth, NJ 07033


                    Two Steve's Provisions (Boar's Head)
                    13 Dimisa Drive
                    Holmdel, NJ 07733


                    U.S. Bank
                    4325 17th Avenue S.
                    Fargo, ND 58125


                    United Food Brand
                    232 Entin Road
                    Newark, NJ 07104


                    United States Attorney
                    970 Broad Street, Fifth Floor
                    Newark, NJ 07102


                    US Department of Labor
                    Attn: Daniel Hennefeld, Esq.
                    201 Varick Street, Room 983
                    New York, NY 10014
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 205 of 206



                    US Department of Labor
                    Long Island District Office
                    1400 Old County Road, Suite 410
                    Westbury, NY 11590-5119


                    US Department of Labor
                    The Curtis Center, Suite 850 West
                    170 S. Independence Mall West
                    Philadelphia, PA 19106-3317


                    UTZ Quality
                    PO Box 64801
                    Baltimore, MD 21264-4801


                    Vel Mac Foods
                    20 Stewart Place
                    Fairfield, NJ 07004


                    Vila Farms Dairy, Inc.
                    301 Iroquois Lane
                    Franklin Lakes, NJ 07417


                    Vintage Food
                    849 Newark Turnpike
                    Kearny, NJ 07032


                    VMT Distributors
                    19 E. 24th St.
                    Paterson, NJ 07514


                    W M Brown Group
                    999 South Oyster bay Road, Ste. 106
                    Bethpage, NY 11714


                    Walong Marketing, Inc.
                    95 Caven Point Road
                    Jersey City, NJ 07305


                    White & Shauger, Inc.
                    433-435 Straight Street
                    PO Box 2695
                    Paterson, NJ 07501
Case 19-24863-JKS   Doc 1 Filed 07/31/19 Entered 07/31/19 15:38:06   Desc Main
                         Document    Page 206 of 206



                    Winkleblacks
                    PO Box 924
                    Rye, NY 10580


                    Wise Foods
                    PO Box 822233
                    Philadelphia, PA 19182-2233


                    Woojin Choi
                    300 Chubb Avenue
                    Lyndhurst, NJ 07071


                    Yorkshire Food Sales Corp.
                    2000 Plaza Avenue
                    New Hyde Park, NY 11040


                    Youngchuk Fruit & Vegetable Corp.
                    10 Schalks Crossing Road
                    Plainsboro, NJ 08536
